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                                                270


Fill in this information to identify your case: 

United States Bankruptcy Court for the:

Western District of Texas

Case number (If known):                                    Chapter    7
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor’s name                             Barton Creek Auto Credit, LLC


2.    All other names debtor used in the
                                                fka Strategic Finance, LLC
      last 8 years
      Include any assumed names, trade
      names, and doing business as names




3.    Debtor’s federal Employer
      Identification Number (EIN)               XX-XXXXXXX


4.    Debtor’s address                          Principal place of business                          Mailing address, if different from principal
                                                                                                     place of business

                                                21701 Interstate 35                                  1325 W. Walnut Street
                                                Number      Street                                   Number        Street


                                                Kyle                      TX    78640                Rogers                 AR       72756-3315
                                                City                      State Zip Code             City                   State Zip Code

                                                                                                     Location of principal assets, if different
                                                                                                     from principal place of business

                                                HAYS
                                                County                                               Number                 Street



                                                                                                     City                   State Zip Code



5.    Debtor’s website (URL)




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Debtor       Barton Creek Auto Credit, LLC                                               Case number (if known)
             Name


6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                               Partnership (excluding LLP)

                                               Other. Specify:


7.   Describe debtor’s business:           A. Check one:
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               Railroad (as defined in 11 U.S.C. § 101(44))

                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               None of the above


                                           B. Check all that apply:
                                               Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                80a-3)
                                               Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                5222




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Debtor        Barton Creek Auto Credit, LLC                                                       Case number (if known)
              Name


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the debtor
                                                     Chapter 7
      filing?
                                                     Chapter 9
                                                     Chapter 11. Check all that apply:
      A debtor who is a “small business                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      debtor” must check the first sub-box.                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      A debtor as defined in § 1182(1) who                               affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      elects to proceed under subchapter V                               recent balance sheet, statement of operations, cash-flow statement, and federal
      of chapter 11 (whether or not the                                  income tax return or if any of these documents do not exist, follow the procedure in
      debtor is a “small business debtor”)                               11 U.S.C. § 1116(1)(B).
      must check the second sub-box.
                                                                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                         less than $7,500,000, and it chooses to proceed under Subchapter V of Chapter
                                                                         11. If this sub-box is selected, attach the most recent balance sheet, statement of
                                                                         operations, cash-flow statement, and federal income tax return, or if any of these
                                                                         documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.

                                                                        Acceptances of the plan were solicited prepetition from one or more classes of
                                                                         creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                         Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                         Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                         Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                         Rule 12b-2.
                                                     Chapter 12


9.    Were prior bankruptcy cases filed              No
      by or against the debtor within the
      last 8 years?                                  Yes. District                                   When                     Case number
      If more than 2 cases, attach a                                                                           MM/DD/YYYY
      separate list.                                          District                                When                     Case number
                                                                                                               MM/DD/YYYY



10.   Are any bankruptcy cases pending               No
      or being filed by a business partner
      or an affiliate of the debtor?                 Yes. Debtor                                                    Relationship

      List all cases. If more than 1, attach a                District                                               When
      separate list.                                                                                                                MM/DD/YYYY


                                                              Case number, if known


11.   Why is the case filed in this              Check all that apply:
      district?
                                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                      days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                      any other district.
                                                     A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                      district.




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Debtor       Barton Creek Auto Credit, LLC                                                   Case number (if known)
             Name


12.   Does the debtor own or have             No
      possession of any real property or
      personal property that needs             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                             Why does the property need immediate attention? (Check all that apply.)

                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                           or safety.
                                                           What is the hazard?
                                                          It needs to be physically secured or protected from the weather.

                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                           related assets or other options).
                                                          Other



                                                       Where is the property?
                                                                                      Number                     Street




                                                                                      City                                State         ZIP Code


                                                       Is the property insured?
                                                          No
                                                          Yes. Insurance agency

                                                                   Contact name

                                                                   Phone



            Statistical and administrative information

13.   Debtor’s estimation of available     Check one:
      funds
                                               Funds will be available for distribution to unsecured creditors.

                                               After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                creditors.


14.   Estimated number of creditors            1-49                                   1,000-5,000                              25,001-50,000
                                               50-99                                  5,001-10,000                             50,001-100,000
                                               100-199                                10,001-25,000                            More than 100,000
                                               200-999


15.   Estimated assets                         $0-$50,000                             $1,000,001-$10 million                   $500,000,001-$1 billion
                                               $50,001-$100,000                       $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                               $100,001-$500,000                      $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                               $500,001-$1 million                    $100,000,001-$500 million                More than $50 billion




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Debtor        Barton Creek Auto Credit, LLC                                                        Case number (if known)
              Name


16.   Estimated liabilities                         $0-$50,000                               $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                         $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                        $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                      $100,000,001-$500 million           More than $50 billion




            Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
      authorized representative of debtor            in this petition.
                                                     I have been authorized to file this petition on behalf of the debtor.
                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                     true and correct.


                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on       4/14/2023
                                                                       MM / DD / YYYY

                                                     /s/ Kelly Stump                                          Kelly Stump
                                                    Signature of authorized representative of debtor         Printed name


                                                     Title    Manager


18.   Signature of attorney                          /s/ Todd Headden                                         Date
                                                    Signature of attorney for debtor                                   MM / DD / YYYY



                                                     Todd Headden
                                                     Printed name

                                                     Hayward PLLC
                                                     Firm name

                                                     7600 Burnet Road, Suite 530
                                                     Number            Street

                                                     Austin                                                     TX              78757
                                                     City                                                       State           ZIP Code


                                                     (737) 881-7100                                             theadden@haywardfirm.com
                                                     Contact Phone                                              Email address


                                                     24096285                                                   Texas
                                                     Bar number                                                 State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 5 of 5
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Fill in this information to identify the case and this filing: 

Debtor Name      Barton Creek Auto Credit, LLC

United States Bankruptcy Court for the:    Western District of Texas

Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the
date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and
3571.


         Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

             Other document that requires a declaration



         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on      4/14/2023
                          MM/DD/YYYY
                                                                                         /s/ Kelly Stump
                                                                                          Signature of individual signing on behalf of debtor


                                                                                          Kelly Stump
                                                                                          Printed name

                                                                                          Manager
                                                                                          Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors                                      page 1 of 1
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Fill in this information to identify your case: 

Debtor Name            Barton Creek Auto Credit, LLC

United States Bankruptcy Court for the: Western District of Texas                                                                                                                                   Check if this is an
                                                                                                                                                                                                     amended filing
Case number (If known):




Official Form 206Sum
Summary of Your Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15


Part 1:        Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

      1a. Real property:
          Copy line 88 from Schedule A/B ............................................................................................................................. .........                 $                 0.00

      1b. Total personal property:

           Copy line 91A from Schedule A/B ............................................................................................................................. .......                 $            1,039.07

      1c. Total of all property:
          Copy line 92 from Schedule A/B ............................................................................................................................. .........                 $            1,039.07


Part 2:        Summarize Your Liabilities

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D............................................                                                    $              470.61

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      3a. Total claim amounts of priority unsecured claims:
          Copy the total claims from Part 1 from line 5a of Schedule E/F.....................................................................................                                    $                 0.00

      3b. Total amount of claims of nonpriority amount of unsecured claims:
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..........................................................                                          +   $          94,217.25



 4. Total liabilities ............................................................................................................................. ......................................       $          94,687.86
    Lines 2 + 3a + 3b




Official Form 206Sum                                                    Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1 of 1
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Fill in this information to identify your case: 

Debtor Name        Barton Creek Auto Credit, LLC

United States Bankruptcy Court for the: Western District of Texas                                                                 Check if this is an
                                                                                                                                   amended filing
Case number (If known):




Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                    12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases.
Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet
is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do
not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?
          No. Go to Part 2.
          Yes. Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                       Current value of debtor’s
                                                                                                                           interest


2.   Cash on hand                                                                                                          $                        0.00

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
     Name of institution (bank or brokerage firm)        Type of account                 Last 4 digits of account number

     3.1       Vantage Bank                              Checking Account                1602                              $                     217.28
     3.2       Vantage Bank                              Checking Account                3507                              $                     772.43
     3.3       Wells Fargo Bank, N.A.                    Checking Account                4511                              $                      49.36

4.   Other cash equivalents (Identify all)


5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                        $                  1,039.07




Official Form 206A/B                                                Schedule A/B: Property                                                   page 1 of 9
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Debtor          Barton Creek Auto Credit, LLC                                               Case number (if known)
                 Name



Part 2:    Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?
         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                Current value of debtor’s
                                                                                                                                interest

7.   Deposits, including security deposits and utility deposits
     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
     Description, including name of holder of prepayment


9.   Total of Part 2
     Add lines 7 through 8. Copy the total to line 81.                                                                          $                     0.00



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of debtor’s
                                                                                                                                interest

11. Accounts receivable

     11a. 90 days old or less:                                        0.00      –                                    0.00   =   $                      0.00
                                                face amount                         doubtful or uncollectible accounts


     11b. Over 90 days old:                                           0.00      –                                    0.00   =   $                      0.00
                                                face amount                         doubtful or uncollectible accounts


12. Total of Part 3
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                     $                     0.00



Part 4:    Investments

13. Does the debtor own any investments?
         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                                   Valuation method used        Current value of debtor’s
                                                                                                   for current value            interest

14. Mutual funds or publicly traded stocks not included in Part 1
     Name of fund or stock:

15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture
     Name of entity:                                                          % of ownership:




Official Form 206A/B                                Schedule A/B: Property  Real and Personal Property                                          page 2 of 9
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Debtor           Barton Creek Auto Credit, LLC                                           Case number (if known)
                 Name



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:


17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.                                                                        $                       0.00




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
         Yes. Fill in the information below.
      General description                  Date of the last          Net book value of          Valuation method used          Current value of debtor’s
                                           physical inventory        debtor's interest          for current value              interest
                                                                     (Where available)

19. Raw materials

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies


23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.                                                                         $                       0.00


24. Is any of the property listed in Part 5 perishable?
     No
         Yes


25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
         Yes.

                 Book value    $                    0.00 Valuation method                                  Current Value   $                 0.00

26 Has any of the property listed in Part 5 been appraised by a professional within the last year?
    No
         Yes




Official Form 206A/B                                 Schedule A/B: Property  Real and Personal Property                                        page 3 of 9
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Debtor          Barton Creek Auto Credit, LLC                                              Case number (if known)
                    Name



Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         No. Go to Part 7.
         Yes. Fill in the information below.

      General description                                              Net book value of            Valuation method used            Current value of debtor’s
                                                                       debtor's interest            for current value                interest
                                                                       (Where available)

28. Crops—either planted or harvested


                                                                        $             0.00                                       $                           0.00

29. Farm animals Examples: Livestock, poultry, farm-raised fish


                                                                        $             0.00                                       $                           0.00

30. Farm machinery and equipment (Other than titled motor vehicles)


                                                                        $             0.00                                       $                           0.00

31. Farm and fishing supplies, chemicals, and feed


                                                                        $             0.00                                       $                           0.00

32. Other farming and fishing-related property not already listed in Part 6


                                                                        $             0.00                                       $                           0.00


33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.                                                                              $                        0.00


34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor’s property stored at the cooperative?
              No
              Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
         Yes

                Book value      $                   0.00 Valuation method                                    Current Value   $                   0.00

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
         Yes




Official Form 206A/B                                Schedule A/B: Property  Real and Personal Property                                              page 4 of 9
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Debtor          Barton Creek Auto Credit, LLC                                                   Case number (if known)
                 Name




Part 7:     Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         No. Go to Part 8.
         Yes. Fill in the information below.
       General description                                                  Net book value of          Valuation method used        Current value of debtor’s
                                                                            debtor's interest          for current value            interest
                                                                            (Where available)

39. Office furniture

                                                                            $             0.00                                  $                          0.00

40. Office fixtures

                                                                            $             0.00                                  $                          0.00

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     6 desk top computers- non functioning                                  $             0.00          Owner's Estimate        $                          0.00

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

                                                                            $             0.00                                  $                          0.00


43. Total of Part 7.
     Add lines 38 through 42. Copy the total to line 86.                                                                            $                      0.00


44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
         Yes

45 Has any of the property listed in Part 7 been appraised by a professional within the last year?
    No
         Yes




Part 8:     Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
         No. Go to Part 9.
         Yes. Fill in the information below.

       General description                                                  Net book value of           Valuation method used       Current value of debtor’s
                                                                            debtor's interest           for current value           interest
       Include year, make, model, and identification numbers (i.e.,
       VIN, HIN, or N-number)                                               (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                                            $             0.00                                  $                          0.00




Official Form 206A/B                                  Schedule A/B: Property  Real and Personal Property                                            page 5 of 9
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Debtor          Barton Creek Auto Credit, LLC                                                 Case number (if known)
                 Name



48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
    floating homes, personal watercraft, and fishing vessels

                                                                           $              0.00                                    $                           0.00

49. Aircraft and accessories

                                                                           $              0.00                                    $                           0.00

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)
                                                                           $              0.00                                    $                           0.00


51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.                                                                               $                       0.00


52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
         Yes



Part 9:     Real property

54. Does the debtor own or lease any real property?
         No. Go to Part 10.
         Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

      Description and location of                   Nature and extent          Net book value of          Valuation method used           Current value of
      property                                      of debtor’s interest       debtor's interest          for current value               debtor’s interest
      Include street address or other description   in property                (Where available)
      such as Assessor Parcel Number (APN),
      and type of property (for example,
      acreage, factory, warehouse, apartment or
      office building), if available.



56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.               $                       0.00


57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
         Yes




Official Form 206A/B                                   Schedule A/B: Property  Real and Personal Property                                              page 6 of 9
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Debtor           Barton Creek Auto Credit, LLC                                          Case number (if known)
                  Name



Part 10:      Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
          No. Go to Part 11.
          Yes. Fill in the information below.
      General description                                           Net book value of           Valuation method used       Current value of debtor’s
                                                                    debtor's interest           for current value           interest
                                                                    (Where available)

60. Patents, copyrights, trademarks, and trade secrets
                                                                     $           0.00                                   $                          0.00

61. Internet domain names and websites
    https://www.bartoncreekautocredit.com/                           $           0.00           Owner's Estimate        $                    Unknown

62. Licenses, franchises, and royalties
                                                                     $           0.00                                   $                          0.00

63. Customer lists, mailing lists, or other compilations
    Customer's (Borrower's) list                                     $           0.00           Owner's Estimate        $                          0.00

64. Other intangibles, or intellectual property
                                                                     $           0.00                                   $                          0.00

65. Goodwill
                                                                     $           0.00                                   $                          0.00


66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                     $                      0.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
          Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
          Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
          Yes




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Debtor           Barton Creek Auto Credit, LLC                                             Case number (if known)
                  Name



Part         All other assets
11:

70. Does the debtor own any other assets that have not yet been reported on this form?
       Include all interests in executory contracts and unexpired leases not previously reported on this form.
        No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                           Current value of debtor’s
                                                                                                                           interest

71. Notes receivable
       Description (include name of obligor)

       Auto Loan Notes                                              202,916.20 –                            202,916.20 =   $                      0.00
                                                     Total face amount             doubtful or uncollectible accounts

72. Tax refunds and unused net operating losses (NOLs)
       Description (for example, federal, state, local)

                                                                                        Tax Year                           $                      0.00

73. Interests in insurance policies or annuities

                                                                                                                           $                      0.00

74. Causes of action against third parties (whether or not a lawsuit has been filed)

                                                                                                                           $                      0.00
       Nature of claim

       Amount requested                          $                       0.00
75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of
    the debtor and rights to set off claims

                                                                                                                           $                      0.00
       Nature of claim
       Amount requested                          $                       0.00
76. Trusts, equitable or future interests in property

                                                                                                                           $                      0.00

77. Other property of any kind not already listed Examples: Season tickets, country club membership

                                                                                                                           $                      0.00


78. Total of Part 11.
       Add lines 71 through 77. Copy the total to line 90.                                                                 $                      0.00

79     Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                                      Schedule A/B: Property  Real and Personal Property                               page 8 of 9
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Debtor            Barton Creek Auto Credit, LLC                                                                  Case number (if known)
                   Name



Part 12:       Summary


In Part 12 copy all of the totals from the earlier parts of the form.

         Type of property                                                                              Current value of                       Current value of
                                                                                                       personal property                      real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                               $              1,039.07

  81. Deposits and prepayments. Copy line 9, Part 2.                                                   $                     0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                       $                     0.00

  83. Investments. Copy line 17, Part 4.                                                               $                     0.00

  84 Inventory. Copy line 23, Part 5.                                                                  $                     0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                        $                     0.00

  86. Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.                                                                            $                     0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                        $                     0.00


  88. Real property. Copy line 56, Part 9. ...................................................................................               $               0.00


  89. Intangibles and intellectual property. Copy line 66, Part 10.                                    $                     0.00


  90. All other assets. Copy line 78, Part 11.                                                  +      $                     0.00


  91. Total. Add lines 80 through 90 for each column...................... 91a.                        $              1,039.07       + 91b.   $               0.00




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ........................................................................................      $    1,039.07




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Fill in this information to identify your case: 

Debtor Name         Barton Creek Auto Credit, LLC

United States Bankruptcy Court for the: Western District of Texas                                                                                Check if this is an
                                                                                                                                                  amended filing
Case number (If known):



Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15

Be as complete and accurate as possible


1.    Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.

Part 1:       List Creditors Who Have Secured Claims

                                                                                                                       Column A                   Column B
2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than                    Amount of claim            Value of collateral
      one secured claim, list the creditor separately for each claim.                                                  Do not deduct the          that supports this
                                                                                                                       value of collateral.       claim

2.1       Creditor’s Name                                              Describe debtor’s property that is
                                                                       subject to a lien
          Sharp Business Systems                                                                                   $                 470.61 $                   200.00

          Creditor’s mailing address
          PO Box 41602
          Philadelphia, PA 19101-1602

          Creditor’s email address, if known                           Describe the lien                               Description
                                                                                                                        copier lease

          Date debt was incurred        2014                           Is the creditor an insider or related party?
                                                                          No
          Last 4 digits of account number            6252                 Yes
          Do multiple creditors have an interest in the same           Is anyone else liable on this claim?
          property?
                                                                          No
           No
                                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative priority?
               No. Specify each creditor, including this              As of the petition filing date, the claim is:
                       creditor, and its relative priority.            Check all that apply.
                                                                          Contingent
               Yes. The relative priority of creditors is                Unliquidated
                       specified on lines
                                                                          Disputed



3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any                                  $            470.61




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor        Barton Creek Auto Credit, LLC                                               Case number (if known)
              Name



Part 2:   List Others to Be Notified for a Debt That You Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and Address                                                                                           On which line in Part 1       Last 4 digits of
                                                                                                           did you enter the             account number
                                                                                                           related creditor?             for this entity

Davidson Document Solutions, Inc.
2600 Longhorn Blvd. #102
Austin, TX 78758                                                                                           Line 2. 1                     6252




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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Fill in this information to identify your case:   

Debtor             Barton Creek Auto Credit, LLC

United States Bankruptcy Court for the: Western District of Texas                                                                       Check if this is an
                                                                                                                                           amended filing
Case number (If known):



Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

1.       Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.
2.       List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3
         creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1
                                                                                                             Total Claim                 Priority Amount


Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

3.        List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
          claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                Amount of claim

3.1        Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                              Check all that apply.                                                  Unknown
                                                                                                                              $
           Adam Barber                                                         Contingent
                                                                               Unliquidated
           904 Quail Creek Drive                                               Disputed

           Independence, MO 64055

           Date or dates debt was incurred                                    Basis for the claim:                                Description
                                                                              Potential Class Member in                           Loan No. 1493865
                                                                              Barton Creek Auto Credit, LLC v.
                                                                              Jessie Bradley


           Last 4 digits of account number                                    Is the claim subject to offset?
                                                                               No
                                                                               Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of 187
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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.2      Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                     110.38
                                                                                                                  $
         Adam Lee Nguyen                                           Contingent
                                                                   Unliquidated
         8001 Tantara Ct                                           Disputed

         Austin, TX 78729

         Date or dates debt was incurred                          Basis for the claim:                                Description
         03/07/2019                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.3      Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Adam Reed                                                 Contingent
                                                                   Unliquidated
         14068 Mountain Taber Road                                 Disputed

         Odessa, MO 64076

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2150209
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.4      Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Adonaria Robinson                                         Contingent
                                                                   Unliquidated
         18508 E 3rd St Ct N                                       Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan Number: 10026
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.5      Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Adriana Saldona                                           Contingent
                                                                   Unliquidated
         3244 Morrell Ave                                          Disputed

         Kansas City, MO 64123

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1503226
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.6      Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Allyson Maxwell                                           Contingent
                                                                   Unliquidated
         1304 SE Rosehill Dr                                       Disputed

         Lees Summit, MO 64081

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1688115
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.7      Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                     165.91
                                                                                                                  $
         Alyssa Soto                                               Contingent
                                                                   Unliquidated
         11707 Vance Jackson Rd                                    Disputed

         San Antonio, TX 78229

         Date or dates debt was incurred                          Basis for the claim:                                Description
         02/22/2018                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.8      Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Amia Norton                                               Contingent
                                                                   Unliquidated
         8822 Highland Ave                                         Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan Number: 10193
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.9      Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Andrew Carrillo                                           Contingent
                                                                   Unliquidated
         8720 PFlumm Court, Apt 202                                Disputed

         Lenexa, KS 66215

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2090198
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.10     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Angelisha Hudson                                          Contingent
                                                                   Unliquidated
         12910 E 40 Highway                                        Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan Number: 10314
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.11     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Anthony Braxton                                           Contingent
                                                                   Unliquidated
         14316 E Kentucky                                          Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1963362
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.12     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Anthony Dismuke                                           Contingent
                                                                   Unliquidated
         208 N Willow                                              Disputed

         Independence, MO 64054

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1908685
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.13     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Anthony Wise                                              Contingent
                                                                   Unliquidated
         9930 Harrison St                                          Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan Number: 10006
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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              Name



3.14     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         April Graves                                              Contingent
                                                                   Unliquidated
         301 West 132st                                            Disputed

         Kansas City, MO 64145

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1670440
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.15     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         April Sanders                                             Contingent
                                                                   Unliquidated
         2109 Swisher Dr                                           Disputed

         Clinton, MO 64735

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan Number: 1166374
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.16     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Aquisha Frazier                                           Contingent
                                                                   Unliquidated
         311 NE 94th Street, Apt 260                               Disputed

         Kansas City, MO 64155

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2081379
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.17     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Arthur Maples                                             Contingent
                                                                   Unliquidated
         11804 Summit Camp Road                                    Disputed

         Lexington, MO 64067

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1797886
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.18     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Ashley Lyles                                              Contingent
                                                                   Unliquidated
         5924 Cypress Pl                                           Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2065373
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.19     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Ashley Williams                                           Contingent
                                                                   Unliquidated
         7247 NE 47 Terr                                           Disputed

         Kansas City, MO 64117

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan Number: 10050
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.20     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Aundrenecca Walker                                        Contingent
                                                                   Unliquidated
         9908 Locust St                                            Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1703897
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.21     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Austin Brown                                              Contingent
                                                                   Unliquidated
         1101 Harlington Place, Apt 5                              Disputed

         Blue Springs, MO 64015

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1909181
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.22     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                     230.00
                                                                                                                  $
         Ayisha Pena                                               Contingent
                                                                   Unliquidated
         3919 Perrin Central Blvd., Apt. 1214                      Disputed

         San Antonio, TX 78217

         Date or dates debt was incurred                          Basis for the claim:                                Description
         04/25/2018                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.23     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Blythe Harper                                             Contingent
                                                                   Unliquidated
         16616 E 3rd Terr N                                        Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1767025
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.24     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Brandon Hood                                              Contingent
                                                                   Unliquidated
         8004 E 130th St                                           Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1693818
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.25     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                Unknown
                                                                                                                  $
         Brandon Lindsey                                           Contingent
                                                                   Unliquidated
         721 N Liberty St                                          Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1858478
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.26     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Brandy Terry                                              Contingent
                                                                   Unliquidated
         912 Benton Blvd                                           Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1775477
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.27     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Brenda Hastings                                           Contingent
                                                                   Unliquidated
         5320 Appleton Ave                                         Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1614292
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.28     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Brenda Minter                                             Contingent
                                                                   Unliquidated
         3516 Spruce St                                            Disputed

         Kansas City, MO 64109

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1601170
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
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3.29     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Brian Claypool                                            Contingent
                                                                   Unliquidated
         4495 SE 69 Hiway                                          Disputed

         Lathrop, MO 64465

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1858340
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.30     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Brieta Tipton                                             Contingent
                                                                   Unliquidated
         3732 NE Ellison Dr                                        Disputed

         Lees Summit, MO 64064

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1695875
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.31     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Brittany Maldonado                                        Contingent
                                                                   Unliquidated
         628 Myrtle                                                Disputed

         Kansas City, MO 64124

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2197998
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.32     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Brooke Jacks                                              Contingent
                                                                   Unliquidated
         1801 SE Timbercreek Ct                                    Disputed

         Blue Springs, MO 64014

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1779888
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.33     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Cameron Gilstrap                                          Contingent
                                                                   Unliquidated
         322 Dundee Rd                                             Disputed

         Smithville, MO 64089

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2113094
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.34     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Cameron Ray                                               Contingent
                                                                   Unliquidated
         11210 Puttman St                                          Disputed

         Independence, MO 64054

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2194332
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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              Name



3.35     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Carl Johnson                                              Contingent
                                                                   Unliquidated
         2516 Troost, Apt 102                                      Disputed

         Kansas City, MO 64108

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2012925
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.36     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Carly Walton                                              Contingent
                                                                   Unliquidated
         532 Stone Arch Dr                                         Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2060261
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.37     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Catherine Smith                                           Contingent
                                                                   Unliquidated
         3609 Blue Ridge, Apt 2                                    Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan no. 1943883
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.38     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Cedric Williams                                           Contingent
                                                                   Unliquidated
         1620 Spruce                                               Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan Number: 10049
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.39     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Celinda Rogers                                            Contingent
                                                                   Unliquidated
         2080 SE Red Lane                                          Disputed

         Lathrop, MO 64465

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2106377
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.40     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Chandra Schwartz                                          Contingent
                                                                   Unliquidated
         203 East Porter                                           Disputed

         Kirksville, MO 63501

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2072015
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.41     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Chanille Madden                                           Contingent
                                                                   Unliquidated
         10008 E 60th Terrace                                      Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1751563
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.42     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Charlie Futrell                                           Contingent
                                                                   Unliquidated
         600 E Ash                                                 Disputed

         Raymore, MO 64083

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2017441
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.43     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Charmus Bell                                              Contingent
                                                                   Unliquidated
         8822 Flora Ave                                            Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2191764
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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3.44     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                 79,881.76
                                                                                                                    $
         Chase                                                       Contingent
                                                                     Unliquidated
         P.O Box 15298                                               Disputed

         Wilmington, DE 19850

         Date or dates debt was incurred                            Basis for the claim:                                Description
                                                                    unpaid invoices                                     business credit card


         Last 4 digits of account number    6407                    Is the claim subject to offset?
                                                                     No
                                                                     Yes


3.45     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                      115.85
                                                                                                                    $
         Christina R. Enrique                                        Contingent
                                                                     Unliquidated
         4039 Coral Sunrise                                          Disputed

         San Antonio, TX 78244

         Date or dates debt was incurred                            Basis for the claim:                                Description
         02/28/2018                                                 Outstanding Check                                   Cancellation of DCA
                                                                                                                        refund due
         Last 4 digits of account number                            Is the claim subject to offset?
                                                                     No
                                                                     Yes


3.46     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                 Unknown
                                                                                                                    $
         Christopher Jones                                           Contingent
                                                                     Unliquidated
         12518 E 40th St S, Apt B                                    Disputed

         Independence, MO 64055

         Date or dates debt was incurred                            Basis for the claim:                                Description
                                                                    Potential Class Member in                           Loan No. 1526109
                                                                    Barton Creek Auto Credit, LLC v.
                                                                    Jessie Bradley


         Last 4 digits of account number                            Is the claim subject to offset?
                                                                     No
                                                                     Yes




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3.47     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Christopher Morgan                                        Contingent
                                                                   Unliquidated
         1011 Newton                                               Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1975286
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.48     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      31.75
                                                                                                                  $
         Christopher Senger                                        Contingent
                                                                   Unliquidated
         9127 Westbrooke Dr                                        Disputed

         Shawnee Mission, KS 66214

         Date or dates debt was incurred                          Basis for the claim:                                Description
         06/15/2020                                               Outstanding Check                                   Late Fee Adjustment


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.49     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Cierra Chrisman                                           Contingent
                                                                   Unliquidated
         6704 E 129th                                              Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1704638
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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3.50     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Clarissa Pickens                                          Contingent
                                                                   Unliquidated
         11245 Calcio Dr                                           Disputed

         Kansas City, MO 64137

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10095
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.51     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Corbyn Schuler                                            Contingent
                                                                   Unliquidated
         108 Duck Rd                                               Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2104472
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.52     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                    172.42
                                                                                                                  $
         Cory Phelps                                               Contingent
                                                                   Unliquidated
         1457 Haskell Rd                                           Disputed

         Williamsburg, KS 66095

         Date or dates debt was incurred                          Basis for the claim:                                Description
         12/01/2021                                               Outstanding Check                                   Account Adjustment


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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3.53     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  6,261.81
                                                                                                                  $
         Creditor's Captive Formation Corp.                        Contingent
                                                                   Unliquidated
         P.O. Box 360                                              Disputed

         Ketchum, OK 74349

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Force placed insurance
                                                                                                                      carrier.
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.54     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                     214.71
                                                                                                                  $
         Cresencio Medina                                          Contingent
                                                                   Unliquidated
         9118 George Kyle Street                                   Disputed

         San Antonio, TX 78240

         Date or dates debt was incurred                          Basis for the claim:                                Description
         01/26/2018                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.55     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Cynthia Campbell                                          Contingent
                                                                   Unliquidated
         5821 NW Creekview Dr                                      Disputed

         Kansas City, MO 64152

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1467072
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.56     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Damonique Wesson                                          Contingent
                                                                   Unliquidated
         8660 Alden                                                Disputed

         Lenexa, KS 66215

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2024893
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.57     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Daniel Clark                                              Contingent
                                                                   Unliquidated
         2725 S Wall                                               Disputed

         Joplin, MO 64808

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10089
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.58     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Daniel Weiser                                             Contingent
                                                                   Unliquidated
         875 Washington St                                         Disputed

         Weston, MO 64098

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1887498
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.59     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Darian Holmes                                             Contingent
                                                                   Unliquidated
         3647 NE Beechwood Dr                                      Disputed

         Lees Summit, MO 64064

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10011
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.60     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         David Gates                                               Contingent
                                                                   Unliquidated
         1350 S Kings Hiway                                        Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2105057
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.61     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  3,249.30
                                                                                                                  $
         Dealer Socket, Inc.                                       Contingent
                                                                   Unliquidated
         1500 Solana Blvd.                                         Disputed
         Building C, Suite 6300

         Westlake, TX 76262

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Software Company


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.62     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Deandre Washington                                        Contingent
                                                                   Unliquidated
         1303 SE 6th                                               Disputed

         Lees Summit, MO 64063

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1740529
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.63     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Deidranience Lee                                          Contingent
                                                                   Unliquidated
         4139 NE Wheeling                                          Disputed

         Kansas City, MO 64117

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1649389
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.64     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Delana Nicholson                                          Contingent
                                                                   Unliquidated
         411 A NE Westwind Dr                                      Disputed

         Lees Summit, MO 64086

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1815822
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.65     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Demar Young                                               Contingent
                                                                   Unliquidated
         200 Wilshire                                              Disputed

         Liberty, MO 64068

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2140357
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.66     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Derek French                                              Contingent
                                                                   Unliquidated
         11623 Richmon Ave                                         Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1938709
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.67     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Derek Hershman                                            Contingent
                                                                   Unliquidated
         2004 SW Sandstone Ct                                      Disputed

         Blue Springs, MO 64014

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1598563
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.68     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Donna Soverns                                             Contingent
                                                                   Unliquidated
         9118 Askew Avenue                                         Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1551301
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.69     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Ebony Banks                                               Contingent
                                                                   Unliquidated
         11028 Greenwood Road                                      Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1820269
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.70     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Ebony Williams                                            Contingent
                                                                   Unliquidated
         808 E Hayward Ave                                         Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2006564
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.71     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Edcinda Heard                                             Contingent
                                                                   Unliquidated
         2207 Larkspur                                             Disputed

         Excelsior Springs, MO 64024

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2139123
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.72     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      22.92
                                                                                                                  $
         Edison Linare                                             Contingent
                                                                   Unliquidated
         1430 Frontier Valley #4                                   Disputed

         Austin, TX 78741

         Date or dates debt was incurred                          Basis for the claim:                                Description
         06/06/2019                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.73     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Edith Lara                                                Contingent
                                                                   Unliquidated
         118 N Hardesty                                            Disputed

         Kansas City, MO 64123

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 1969038
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.74     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Edward Bozeman                                            Contingent
                                                                   Unliquidated
         18901 East Susquehanna Ridge                              Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1521092
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.75     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Edween Anderson                                           Contingent
                                                                   Unliquidated
         10729 Cambridge Ave                                       Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1619915
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.76     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Edwin Vega                                                Contingent
                                                                   Unliquidated
         16805 E. Lakspur Ln #4                                    Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1380609
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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3.77     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                      18.29
                                                                                                                    $
         Elaina Brancato                                             Contingent
                                                                     Unliquidated
         2124 Buron Dr #162                                          Disputed

         Austin, TX 78741

         Date or dates debt was incurred                            Basis for the claim:                                Description
         02/28/2019                                                 Outstanding Check                                   Cancellation of DCA
                                                                                                                        refund due
         Last 4 digits of account number                            Is the claim subject to offset?
                                                                     No
                                                                     Yes


3.78     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                 Unknown
                                                                                                                    $
         Elizabeth Sprague                                           Contingent
                                                                     Unliquidated
         2200 S Cedar                                                Disputed

         Independence, MO 64052

         Date or dates debt was incurred                            Basis for the claim:                                Description
                                                                    Potential Class Member in Barton                    Loan No. 1993723
                                                                    Creek Auto Credit, LLC v. Jessie
                                                                    Bradley


         Last 4 digits of account number                            Is the claim subject to offset?
                                                                     No
                                                                     Yes


3.79     Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                     942.63
                                                                                                                    $
         Equifax Information SVCS LLC                                Contingent
                                                                     Unliquidated
         PO Box 740253                                               Disputed

         Atlanta, GA 30374-0253

         Date or dates debt was incurred                            Basis for the claim:                                Description
                                                                    unpaid invoices                                     data services


         Last 4 digits of account number    0081                    Is the claim subject to offset?
                                                                     No
                                                                     Yes




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3.80     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Erik Stewart                                              Contingent
                                                                   Unliquidated
         7943 Garfield Ave                                         Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1452103
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.81     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Ernest Colbert                                            Contingent
                                                                   Unliquidated
         118 E 7th St, Apt 12                                      Disputed

         Emporia, KS 66801

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2058891
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.82     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Gayle Burelson                                            Contingent
                                                                   Unliquidated
         7522 E 85th Terr #103                                     Disputed

         Kansas City, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2037172
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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3.83     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Gunnar Maxwell                                            Contingent
                                                                   Unliquidated
         1304 SE Rosehill Dr                                       Disputed

         Lees Summit, MO 64081

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1688115
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.84     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Heather Maxwell                                           Contingent
                                                                   Unliquidated
         18309 E 12 Terr N                                         Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1858965
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.85     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      37.80
                                                                                                                  $
         Ignancio Munguia                                          Contingent
                                                                   Unliquidated
         7719 Mary Carolyn                                         Disputed

         San Antonio, TX 78240

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.86     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Ivy Christman                                             Contingent
                                                                   Unliquidated
         3911 S Redwood Dr                                         Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1944039
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.87     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jack Nichelson                                            Contingent
                                                                   Unliquidated
         17135 E 5th St                                            Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1654229
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.88     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         James Barton                                              Contingent
                                                                   Unliquidated
         5225 Sycamore                                             Disputed

         Kansas City, MO 64129

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1609382
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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3.89     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         James King                                                Contingent
                                                                   Unliquidated
         300 Millview Dr                                           Disputed

         Buckner, MO 64016

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1715941
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.90     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jamie Burnett                                             Contingent
                                                                   Unliquidated
         9507 E 79th St                                            Disputed

         Raytown, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2081449
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.91     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Janice Fox                                                Contingent
                                                                   Unliquidated
         16711 A E. 28th Place                                     Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1854228
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.92     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jaron Greathouse                                          Contingent
                                                                   Unliquidated
         10301 E 96ST                                              Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1821929
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.93     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jarrod Blackman                                           Contingent
                                                                   Unliquidated
         16806 E Larkspur Ln, Apt 4                                Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2123568
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.94     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jasmine Collier                                           Contingent
                                                                   Unliquidated
         11205 Crystal Ave                                         Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10056
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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                                                270
Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.95     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jason Mahurin                                             Contingent
                                                                   Unliquidated
         403 N. Redbud                                             Disputed

         Concordia, MO 64020

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1744282
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.96     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jeffrey A. Stump                                          Contingent
                                                                   Unliquidated
         116 Berry Ave                                             Disputed

         Belton, MO 64012

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1742402
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.97     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jermaine Campbell                                         Contingent
                                                                   Unliquidated
         3607 N Cleveland Ave                                      Disputed

         Kansas City, MO 64117

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1984481
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.98     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jessie Bradley                                            Contingent
                                                                   Unliquidated
         11402 Manchester Ave.                                     Disputed

         Kansas City, MO 64134-3545

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Class Action Lawsuit


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.99     Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jessie Chronister                                         Contingent
                                                                   Unliquidated
         737 N Aztex Drive                                         Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2067535
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.10
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      68.42
                                                                                                                  $
         Joe Albert Gereb                                          Contingent
                                                                   Unliquidated
         5039 Hamilton #1412                                       Disputed

         San Antonio, TX 78229

         Date or dates debt was incurred                          Basis for the claim:                                Description
         01/31/2018                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.10
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         John Bonacorso                                            Contingent
                                                                   Unliquidated
         6324 North Cleveland Ave                                  Disputed

         Kansas City, MO 64119

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1510825
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.10
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jordan Banks                                              Contingent
                                                                   Unliquidated
         3434 E 62nd Street                                        Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2099139
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.10
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jordan Beach                                              Contingent
                                                                   Unliquidated
         1875 Kingbird Ct                                          Disputed

         Liberty, MO 64068

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in                           Loan No. 2095529
                                                                  Barton Creek Auto Credit, LLC v.
                                                                  Jessie Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.10
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jordan Johnson                                            Contingent
                                                                   Unliquidated
         101 S. Hawthorne Ave                                      Disputed

         Independence, MO 64053

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1751395
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.10
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Joseph Ault                                               Contingent
                                                                   Unliquidated
         16207 Hwy E                                               Disputed

         Lexington, MO 64067

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan NO. 64067
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.10
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Joshua Beach                                              Contingent
                                                                   Unliquidated
         1875 Kingbird Ct                                          Disputed

         Liberty, MO 64068

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2095529
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.10
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Joshua McCune                                             Contingent
                                                                   Unliquidated
         5060 N Oak Trfy                                           Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1793193
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.10
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                    104.81
                                                                                                                  $
         Juan Martinez                                             Contingent
                                                                   Unliquidated
         16031 W 143rd Terrace                                     Disputed

         Olathe, KS 66062

         Date or dates debt was incurred                          Basis for the claim:                                Description
         12/01/2021                                               Outstanding Check                                   Account Adjustment


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.10
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Julius Brown                                              Contingent
                                                                   Unliquidated
         10563 Cypress Ave #8                                      Disputed

         Kansas City, MO 64137

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10251
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.11
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Justin Cogle                                              Contingent
                                                                   Unliquidated
         4425 Norwood Ave                                          Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1960119
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.11
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Justin Davis                                              Contingent
                                                                   Unliquidated
         114 N Crest Drive                                         Disputed

         Daleville, VA 24083

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1738311
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.11
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Justus D. Sinnett                                         Contingent
                                                                   Unliquidated
         5417 NW Homer White Rd                                    Disputed

         NICHOLS, WI 54152

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1732221
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.11
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Karryan Baker                                             Contingent
                                                                   Unliquidated
         11719 Winchester Ave                                      Disputed

         Kansas City, MO 64164

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10314
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.11
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Karsa Pitts                                               Contingent
                                                                   Unliquidated
         19416 East 14th Street                                    Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1516302
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.11
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Kasey Ray                                                 Contingent
                                                                   Unliquidated
         11210 Puttman St                                          Disputed

         Independence, MO 64054

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2194332
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.11
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Kasmin Jones                                              Contingent
                                                                   Unliquidated
         3217 Mersington Ave                                       Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1703173
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.11
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Kathy Samborski                                           Contingent
                                                                   Unliquidated
         16700 East 29th Street South                              Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1492250
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.11
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Ken Brady                                                 Contingent
                                                                   Unliquidated
         1404 W College                                            Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1797877
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.11
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Kenneth Paul                                              Contingent
                                                                   Unliquidated
         720 S. Savage Street                                      Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1529333
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.12
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Kimberly Thibault                                         Contingent
                                                                   Unliquidated
         737 N Aztec Dr                                            Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2067535
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.12
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Kosmes Kosmes                                             Contingent
                                                                   Unliquidated
         8201 N Thomas Meyers Dr #A                                Disputed

         Kansas City, MO 64117

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2103235
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.12
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Kristina Listenberger                                     Contingent
                                                                   Unliquidated
         1222 S. Ash                                               Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1126948
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.12
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Kristina Winters                                          Contingent
                                                                   Unliquidated
         229 Park                                                  Disputed

         Kansas City, MO 64124

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1910607
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.12
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Larry Tong                                                Contingent
                                                                   Unliquidated
         1612 South Vermont                                        Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1625833
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.12
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Laryssa Scott                                             Contingent
                                                                   Unliquidated
         2843 Mersington Ave                                       Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1709271
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.12
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Lashunda Williams                                         Contingent
                                                                   Unliquidated
         7600 E 199th Terr                                         Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2026005
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.12
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Latisha Davis                                             Contingent
                                                                   Unliquidated
         6003 Blue Hills Rd #5                                     Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2043906
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.12
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Latrease Bates                                            Contingent
                                                                   Unliquidated
         9500 Drury Ave, Apt 304                                   Disputed



         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2035270
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.12
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Leland Quint                                              Contingent
                                                                   Unliquidated
         1457 NE Burgandy Ln.                                      Disputed

         Lee's Summit, MO 64088

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2406967
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.13
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Leonel Lopez                                              Contingent
                                                                   Unliquidated
         1513 W 23rd Terr, Bldg. G4, Apt. I                        Disputed



         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1919440
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.13
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Lindsey Samborski                                         Contingent
                                                                   Unliquidated
         16700 East 29th Street South                              Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1492250
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.13
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Lisa Aguilar                                              Contingent
                                                                   Unliquidated
         716 NW Street                                             Disputed

         Nevada, MO 64772

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1823232
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.13
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Madge Keshun                                              Contingent
                                                                   Unliquidated
         7405 E 112th St                                           Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10029
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.13
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      64.58
                                                                                                                  $
         Maria Gonzalez                                            Contingent
                                                                   Unliquidated
         13021 Dessau Rd Lot 442                                   Disputed

         Austin, TX 78754

         Date or dates debt was incurred                          Basis for the claim:                                Description
         06/11/2018                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.13
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Mark Isley                                                Contingent
                                                                   Unliquidated
         8007 Forest Park Dr                                       Disputed

         Kansas City, MO 64152

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1676656
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.13
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Markeshia Fue                                             Contingent
                                                                   Unliquidated
         4215 Tracy Ave                                            Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number 10162
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.13
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Marlon Green                                              Contingent
                                                                   Unliquidated
         3335 S Oxford                                             Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2202536
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.13
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Marlys Glover                                             Contingent
                                                                   Unliquidated
         1331 N Main Street                                        Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2145976
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.13
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Marvin Cogle                                              Contingent
                                                                   Unliquidated
         4425 Norwood Ave                                          Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1414503
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.14
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Mary Goodloe                                              Contingent
                                                                   Unliquidated
         7010 N Park Ave, Apt A                                    Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1954257
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.14
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Maurice Brown                                             Contingent
                                                                   Unliquidated
         522 NE Malibu Dr                                          Disputed

         Lees Summit, MO 64064

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1794534
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.14
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Maurice Lurks                                             Contingent
                                                                   Unliquidated
         3934 Indiana Ave                                          Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2078731
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.14
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      22.92
                                                                                                                  $
         Mauricio Rico                                             Contingent
                                                                   Unliquidated
         8001 Lee Hill #L                                          Disputed

         Austin, TX 78744

         Date or dates debt was incurred                          Basis for the claim:                                Description
         06/04/2019                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.14
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Melinda Foster                                            Contingent
                                                                   Unliquidated
         647 North Queen Ridge Ct                                  Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1797637
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.14
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Melissa Mustain                                           Contingent
                                                                   Unliquidated
         19506 Salisbury                                           Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1942080
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.14
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Michael Craddock                                          Contingent
                                                                   Unliquidated
         110 N Chestnut, Apt B                                     Disputed

         Belton, MO 64012

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2067265
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.14
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                    154.31
                                                                                                                  $
         Michael Hall                                              Contingent
                                                                   Unliquidated
         800 E 100th Terrace, Apt 3                                Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
         12/01/2021                                               Outstanding Check                                   Account Adjustment


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.14
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Michael Kovaleski                                         Contingent
                                                                   Unliquidated
         1011 W White Oak St                                       Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2078830
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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              Name



3.14
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Miesha Chrisman                                           Contingent
                                                                   Unliquidated
         6704 E 129th St                                           Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1783773
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.15
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Mike Price                                                Contingent
                                                                   Unliquidated
         7945 Agnes                                                Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1532408
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.15
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Monet Roberts                                             Contingent
                                                                   Unliquidated
         13009 Bristol Ave                                         Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10169
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.15
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                    902.75
                                                                                                                  $
         Nasteff & Quinn, LLC                                      Contingent
                                                                   Unliquidated
         118 North Water Street                                    Disputed

         Liberty, MO 64068

         Date or dates debt was incurred                          Basis for the claim:                                Description
         2/1/23                                                   unpaid invoices                                     legal services


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.15
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      68.14
                                                                                                                  $
         Nathan May                                                Contingent
                                                                   Unliquidated
         700 N Walnut Street                                       Disputed

         Olathe, KS 66061

         Date or dates debt was incurred                          Basis for the claim:                                Description
         12/01/2021                                               Outstanding Check                                   Account Adjustment


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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3.15
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                    238.45
                                                                                                                  $
         Nathaniel Ressel                                          Contingent
                                                                   Unliquidated
         2203 E Cedar St                                           Disputed

         Olathe, KS 66062

         Date or dates debt was incurred                          Basis for the claim:                                Description
         12/01/2021                                               Outstanding Check                                   Account Adjustment


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.15
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Neico Silkwood                                            Contingent
                                                                   Unliquidated
         22099 102th Lane                                          Disputed

         Sweet Springs, MO 65351

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1551633
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.15
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Nyankiir Anyang                                           Contingent
                                                                   Unliquidated
         755 NW 60th Street, Apt 12                                Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1955712
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.15
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Nykeiscia Love                                            Contingent
                                                                   Unliquidated
         1201 NW 66th Ter                                          Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1832917
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.15
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Paris Jordan                                              Contingent
                                                                   Unliquidated
         3706 Neona                                                Disputed

         Saint Louis, MO 63121

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1711077
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.15
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Patrice Davis                                             Contingent
                                                                   Unliquidated
         9311 Eastern Ave                                          Disputed

         Kansas City, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1905547
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.16
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                     289.62
                                                                                                                  $
         Patrick Doughtery                                         Contingent
                                                                   Unliquidated
         11500 Eubank Drive                                        Disputed

         Austin, TX 78758

         Date or dates debt was incurred                          Basis for the claim:                                Description
         05/02/2018                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.16
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Patrick Thomas                                            Contingent
                                                                   Unliquidated
         601 N Franson                                             Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1701274
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.16
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Posha King                                                Contingent
                                                                   Unliquidated
         3529 NE 72nd St #90                                       Disputed

         Kansas City, MO 64119

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan no. 1892766
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.16
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                    316.66
                                                                                                                  $
         Quincy Hughes                                             Contingent
                                                                   Unliquidated
         1500 N. Interstate 35                                     Disputed

         Round Rock, TX 78664

         Date or dates debt was incurred                          Basis for the claim:                                Description
         03/25/2019 & 03/25/2018                                  Outstanding Checks                                  Cancellation of DCA
                                                                                                                      refund due (combined
                                                                                                                      2018 and 2019)
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.16
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Rachel Bartlett                                           Contingent
                                                                   Unliquidated
         8825 E 19th Street, Lot 142                               Disputed

         Kansas City, MO 64126

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2101337
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.16
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Regina Baker                                              Contingent
                                                                   Unliquidated
         913 S Noland Road                                         Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1736208
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.16
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Richard Bassett                                           Contingent
                                                                   Unliquidated
         1818 North Grove Dr                                       Disputed

         Independence, MO 64058

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1251847
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.16
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Richard Cade                                              Contingent
                                                                   Unliquidated
         8803 E 83rd Street                                        Disputed

         Raytown, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1995943
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.16
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Richard Sagaser                                           Contingent
                                                                   Unliquidated
         6117 N. Denver Ave                                        Disputed

         Kansas City, MO 64119

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1440358
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.16
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Robert Botts                                              Contingent
                                                                   Unliquidated
         11206 NW Lema Dr, Apt 1                                   Disputed

         Kansas City, MO 64152

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2202390
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.17
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Robert Chevez                                             Contingent
                                                                   Unliquidated
         612 N Downey Ct                                           Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1767037
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.17
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Robert Downton                                            Contingent
                                                                   Unliquidated
         5105 Garfield                                             Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2140308
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.17
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Robert McGautha                                           Contingent
                                                                   Unliquidated
         3609 Blue Ridge, Apt 2                                    Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1943883
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.17
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Roberta Townsend                                          Contingent
                                                                   Unliquidated
         14200 E. 49th St, Apt 102                                 Disputed

         Kansas City, MO 64136

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1440355
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.17
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Rodger Cole                                               Contingent
                                                                   Unliquidated
         1723 Hartford                                             Disputed

         Independence, MO 64058

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1741019
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.17
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                     299.06
                                                                                                                  $
         Roger Alexander                                           Contingent
                                                                   Unliquidated
         6707 Sangate Drive                                        Disputed

         Arlington, TX 76002

         Date or dates debt was incurred                          Basis for the claim:                                Description
         06/04/2018                                               Outstanding Check                                   Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.17
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Roy Brown                                                 Contingent
                                                                   Unliquidated
         3308 North Mccoy                                          Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1678681
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.17
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Ryan Sprague                                              Contingent
                                                                   Unliquidated
         334 NW 1351                                               Disputed

         Holden, MO 64040

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2006564
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.17
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Sammyo T. Jackson                                         Contingent
                                                                   Unliquidated
         11926 Sycamore                                            Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1764956
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.17
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Satin Walcott                                             Contingent
                                                                   Unliquidated
         9323 Bales Ave #301                                       Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10107
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.18
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Savannah Nutt                                             Contingent
                                                                   Unliquidated
         512 NE Church Hill St                                     Disputed

         Lees Summit, MO 64086

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2020693
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.18
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      63.08
                                                                                                                  $
         Selina Snook                                              Contingent
                                                                   Unliquidated
         1425 S 55th St., Apt 7                                    Disputed

         Kansas City, KS 66106

         Date or dates debt was incurred                          Basis for the claim:                                Description
         12/01/2021                                               Outstanding Check                                   Account Adjustment


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.18
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                     127.08
                                                                                                                  $
         Serafin A. Servin                                         Contingent
                                                                   Unliquidated
         491 Sheffied Rd                                           Disputed

         Seguin, TX 78155

         Date or dates debt was incurred                          Basis for the claim:                                Description
         09/17/2018                                               Outstanding Checks                                  Cancellation of DCA
                                                                                                                      refund due
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes



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              Name



3.18
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Shana McFarland                                           Contingent
                                                                   Unliquidated
         300 W Marcia                                              Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1679087
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.18
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Shaniqua Jackson                                          Contingent
                                                                   Unliquidated
         3127 NW Gateway Dr                                        Disputed

         Blue Springs, MO 64015

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2067703
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.18
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Shatora Floy                                              Contingent
                                                                   Unliquidated
         10817 E 24th Street S                                     Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Invoice Number: 10236
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.18
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Shawnte Giles                                             Contingent
                                                                   Unliquidated
         721 North Cloverdale Ave                                  Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 1412331
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.18
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Stacey Moore                                              Contingent
                                                                   Unliquidated
         721 North Liberty                                         Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1498954
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.18
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Stehpanie Hunt                                            Contingent
                                                                   Unliquidated
         11421 Colorado Ave, Apt 5                                 Disputed

         Kansas City, MO 64137

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1986812
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.18
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Stephen Hamilton                                          Contingent
                                                                   Unliquidated
         528 Jackson Ave                                           Disputed

         Joplin, MO 64801

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10094
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.19
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Steve Warehime                                            Contingent
                                                                   Unliquidated
         10614 E 23rd Street South, Apt A                          Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1665751
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.19
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Steven Bathgate                                           Contingent
                                                                   Unliquidated
         1690 Larkspur Ln, Apt 3                                   Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1887570
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.19
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Suprena Collins                                           Contingent
                                                                   Unliquidated
         3130 Brooklyn Ave                                         Disputed

         Kansas City, MO 64109

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1721673
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.19
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Susana Komes                                              Contingent
                                                                   Unliquidated
         8201 N Thomas Meyers Dr #A                                Disputed

         Kansas City, MO 64117

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2103235
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.19
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Symphony Teague                                           Contingent
                                                                   Unliquidated
         4104 S. Crackerneck Rd                                    Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1954000
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.19
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      41.84
                                                                                                                  $
         Takhia Marie Harris                                       Contingent
                                                                   Unliquidated
         930 Duncan Perry, Apt 2009                                Disputed

         Grand Prairie, TX 75050

         Date or dates debt was incurred                          Basis for the claim:                                Description
         09/16/2019                                               Outstanding Check


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.19
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tamika Hickman                                            Contingent
                                                                   Unliquidated
         6637 Walrond                                              Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2180888
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.19
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tamiko Chamberlain                                        Contingent
                                                                   Unliquidated
         1921 E 17th Street                                        Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1995881
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.19
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Thomas Richbourg                                          Contingent
                                                                   Unliquidated
         102 North Institute St                                    Disputed

         Richmond, MO 64085

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1515093
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.19
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tierra Johnson                                            Contingent
                                                                   Unliquidated
         10007 Hillcrest Road                                      Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10066
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.20
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tiffany Chambers                                          Contingent
                                                                   Unliquidated
         7006 N Olive                                              Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1834772
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.20
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tim Owen                                                  Contingent
                                                                   Unliquidated
         2616 Castle Dr                                            Disputed

         Blue Springs, MO 64015

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1873213
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.20
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tomothy Rokov                                             Contingent
                                                                   Unliquidated
         6109 N Jefferson St, Apt 6                                Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1999782
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.20
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tony Turner                                               Contingent
                                                                   Unliquidated
         10322 Hillcrest Rd                                        Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1732263
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.20
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Travis Wright                                             Contingent
                                                                   Unliquidated
         17858 K-16 Hwy                                            Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan Number: 10028
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.20
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Trenease Burns                                            Contingent
                                                                   Unliquidated
         4220 E 43rd St                                            Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1971422
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.20
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tyra McGee                                                Contingent
                                                                   Unliquidated
         4435 E 10th St                                            Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2091823
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.20
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Victoria Harris                                           Contingent
                                                                   Unliquidated
         7408 Harrison                                             Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2037172
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.20
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Wedly Registe                                             Contingent
                                                                   Unliquidated
         205 NE 50th #321                                          Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2052451
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.20
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         William Porter                                            Contingent
                                                                   Unliquidated
         828 N Arapahoe                                            Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 1891812
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.21
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jacquella Carter                                          Contingent
                                                                   Unliquidated
         134 Mott Dr                                               Disputed

         Raymore, MO 64083

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2202695
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.21
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Johnnie Nelson                                            Contingent
                                                                   Unliquidated
         134 Mott Dr                                               Disputed

         Raymore, MO 64083

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2202695
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.21
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         David Barrolle                                            Contingent
                                                                   Unliquidated
         1710 5th Ave                                              Disputed

         Saint Joseph, MO 64505

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2204600
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.21
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Rudy Chavez                                               Contingent
                                                                   Unliquidated
         3416 N Bellefontaine Street                               Disputed

         Kansas City, MO 64117

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2219428
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.21
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Francisco Leal                                            Contingent
                                                                   Unliquidated
         4016 Anderson Ave                                         Disputed

         Kansas City, MO 64123

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2224461
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.21
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Melissa Lovett                                            Contingent
                                                                   Unliquidated
         616 Morse Ave                                             Disputed

         Liberty, MO 64068

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2225433
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.21
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Talisha Wright                                            Contingent
                                                                   Unliquidated
         824 State Avenue                                          Disputed

         Kansas City, KS 66101

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2235507
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.21
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Richard Nunn                                              Contingent
                                                                   Unliquidated
         1300 Bryson                                               Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2238111
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.21
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Ryan Ashton                                               Contingent
                                                                   Unliquidated
         955 Leroy                                                 Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2238889
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.21
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Aaron Martinez                                            Contingent
                                                                   Unliquidated
         10107 Central St, Apt 103                                 Disputed

         Kansas City, MO 64114

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2240019
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.22
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Raymond Foster                                            Contingent
                                                                   Unliquidated
         1306 NW 6th Terr                                          Disputed

         Blue Springs, MO 64015

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2243122
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.22
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Yancy Smith                                               Contingent
                                                                   Unliquidated
         2717 E 77th St                                            Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2255306
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.22
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jonthan Leal                                              Contingent
                                                                   Unliquidated
         4220 Clark Ave                                            Disputed

         Kansas City, MO 64111

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2256971
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.22
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Phillip Kasper                                            Contingent
                                                                   Unliquidated
         400 West Marcia Ave                                       Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2257124
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.22
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Shawn Pearson                                             Contingent
                                                                   Unliquidated
         2621 S Norwood                                            Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2258361
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.22
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Jorge Pina                                                Contingent
                                                                   Unliquidated
         18430 W 152nd Terr                                        Disputed

         Olathe, KS 66062

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2259200
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.22
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Chistina Strother                                         Contingent
                                                                   Unliquidated
         5201 E 7th St, Apt A                                      Disputed

         Kansas City, MO 64124

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2262139
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.22
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Ellis Robinson                                            Contingent
                                                                   Unliquidated
         10855 Richards Ct                                         Disputed

         Overland Park, KS 66210

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2268582
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.22
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Vernon Meade                                              Contingent
                                                                   Unliquidated
         3646 Askew Ave                                            Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2270249
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.22
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Herbert William                                           Contingent
                                                                   Unliquidated
         3309 Mersington Ave                                       Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2270918
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.23
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Leotrice Franklin                                         Contingent
                                                                   Unliquidated
         6201 E 152nd St #B                                        Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2271392
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.23
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Steven McElroy                                            Contingent
                                                                   Unliquidated
         21416 Pinoak Lane                                         Disputed

         Peculiar, MO 64078

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2271538
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.23
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Justin Gilmore                                            Contingent
                                                                   Unliquidated
         3801 S Adams Ave                                          Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2280187
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.23
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Andia Ammons                                              Contingent
                                                                   Unliquidated
         14419 Craig Ave                                           Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2281087
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.23
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Reginold McDonald                                         Contingent
                                                                   Unliquidated
         14419 Craig Ave                                           Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2281067
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.23
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Michael Crockett                                          Contingent
                                                                   Unliquidated
         3001 Spruce Ave                                           Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2286417
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.23
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Brigitte Emerson                                          Contingent
                                                                   Unliquidated
         1818 E 79th Street                                        Disputed

         Kansas City, MO 64032

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2290910
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.23
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Amanda Paris                                              Contingent
                                                                   Unliquidated
         18205 East 51st Street Ct D                               Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2297258
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.23
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Calvin Poke                                               Contingent
                                                                   Unliquidated
         11007 Beacon Ave                                          Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2303108
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.23
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Juan Pena                                                 Contingent
                                                                   Unliquidated
         6204A E 152nd St                                          Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan no. 2318658
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.24
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Scott Wheeler                                             Contingent
                                                                   Unliquidated
         100 NE 67th Terr                                          Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 64118
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.24
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                 Unknown
                                                                                                                  $
         Tonya Wallace                                             Contingent
                                                                   Unliquidated
         9125 W 124th Street                                       Disputed

         Overland Park, KS 66213

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2319902
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.24
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Shane Hook                                                Contingent
                                                                   Unliquidated
         RR1 Box 33                                                Disputed

         Drexel, MO 64742

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2328674
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.24
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Teresa Todd                                               Contingent
                                                                   Unliquidated
         1233 S Pleasant St                                        Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2330147
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.24
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Stacatto Henderson                                        Contingent
                                                                   Unliquidated
         10211 Hillcrest Rd                                        Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2349226
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.24
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Terrance Coffin                                           Contingent
                                                                   Unliquidated
         547 South Arlington                                       Disputed

         Independence, MO 64053

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2354715
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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3.24
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Rane Newman                                               Contingent
                                                                   Unliquidated
         4418 Harrison St                                          Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2373990
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.24
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Lance Kolb                                                Contingent
                                                                   Unliquidated
         5504 Maywood Ave                                          Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2380960
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.24
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Sheila Kolb                                               Contingent
                                                                   Unliquidated
         5504 Maywood Ave                                          Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2380960
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.24
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Ebony Warren                                              Contingent
                                                                   Unliquidated
         7210 Hullwood St                                          Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2381545
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.25
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Mitchell Floyd                                            Contingent
                                                                   Unliquidated
         1507 Thomas Ave                                           Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2396661
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.25
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Charles Watkins                                           Contingent
                                                                   Unliquidated
         1708 E 60th St                                            Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2398829
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.25
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tiffany Goodloe                                           Contingent
                                                                   Unliquidated
         914 Winthrop Dr                                           Disputed

         Lexington, MO 64067

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2414940
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.25
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         William Foreman                                           Contingent
                                                                   Unliquidated
         801 S Grant St                                            Disputed

         Olathe, KS 66061

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2431473
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.25
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         William Baschke                                           Contingent
                                                                   Unliquidated
         45474104 Racoon Ridge Rd                                  Disputed

         Stover, MO 65078

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2444205
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.25
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jermaine Holloway                                         Contingent
                                                                   Unliquidated
         9317 Harrison St, Apt 813                                 Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2455935
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.25
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tony Manning                                              Contingent
                                                                   Unliquidated
         528 N Hocker                                              Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2456437
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.25
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Richard Harris                                            Contingent
                                                                   Unliquidated
         3405 Utah Rd                                              Disputed

         Wellsville, KS 66092

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2458148
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.25
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Brittany J. Clark                                         Contingent
                                                                   Unliquidated
         3315 Benton Blvd                                          Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2462033
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.25
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tashala Fulton                                            Contingent
                                                                   Unliquidated
         3639 SW 38th Ter                                          Disputed

         Topeka, KS 66610

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2478206
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.26
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Lanetta Hall                                              Contingent
                                                                   Unliquidated
         11600 Palmer Ave                                          Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2494392
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.26
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Lee Douglas                                               Contingent
                                                                   Unliquidated
         7003 Jackson Ave                                          Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2496322
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.26
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jacob Winters                                             Contingent
                                                                   Unliquidated
         2908 S Ralston Ave                                        Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2521091
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.26
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Kelvin Staley                                             Contingent
                                                                   Unliquidated
         3605 Bales Ave                                            Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2530271
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.26
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Luis Torres                                               Contingent
                                                                   Unliquidated
         110 W 103rd St #14                                        Disputed

         Kansas City, MO 64114

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2536623
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.26
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Yoseline Romero                                           Contingent
                                                                   Unliquidated
         110 W 103rd St #14                                        Disputed

         Kansas City, MO 64114

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2536623
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.26
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Hali Jones                                                Contingent
                                                                   Unliquidated
         906 NE Deer Creek Dr                                      Disputed

         Grain Valley, MO 64029

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2540104
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.26
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jason E. Carpenter                                        Contingent
                                                                   Unliquidated
         37802 E Cogswell                                          Disputed

         Ferrum, VA 24088

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2552398
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.26
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Shannon Long                                              Contingent
                                                                   Unliquidated
         3611 Olive St                                             Disputed

         Kansas City, MO 64109

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2554117
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.26
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Sandra Jones                                              Contingent
                                                                   Unliquidated
         1311 S 13 HWY LOT 19                                      Disputed

         Lexington, MO 64067

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2556146
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.27
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         James Jones                                               Contingent
                                                                   Unliquidated
         1311 S 13 HWY LOT 19                                      Disputed

         Lexington, MO 64067

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2556146
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.27
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         William Wood                                              Contingent
                                                                   Unliquidated
         17202 East Bunschu Rd                                     Disputed

         Independence, MO 64056

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2563933
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.27
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Curtis Gordon                                             Contingent
                                                                   Unliquidated
         3526 S Emery Street                                       Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2567041
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.27
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tauaipolu Key                                             Contingent
                                                                   Unliquidated
                                                                   Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2569560
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.27
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Teressa Hayes                                             Contingent
                                                                   Unliquidated
         804 S Saville Ave                                         Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2576713
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.27
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Russell Straight                                          Contingent
                                                                   Unliquidated
         13703 11th St                                             Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2580009
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.27
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Ronnie Lane                                               Contingent
                                                                   Unliquidated
         10910 Bradshaw                                            Disputed

         Overland Park, KS 66210

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2585205
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.27
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Holly Robinson                                            Contingent
                                                                   Unliquidated
         515 S Sunrise Dr                                          Disputed

         Raymore, MO 64083

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2589926
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.27
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Wendy Coleman                                             Contingent
                                                                   Unliquidated
         11209 E 53rd St                                           Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2619338
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.27
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         David Leonard                                             Contingent
                                                                   Unliquidated
         14710 Pine View Dr                                        Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2627705
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.28
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Cynthia Livingston                                        Contingent
                                                                   Unliquidated
         1324 West 24th Street                                     Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2634446
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.28
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Laverna Banks                                             Contingent
                                                                   Unliquidated
         1524 Jones St                                             Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2641080
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.28
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Victoria Price                                            Contingent
                                                                   Unliquidated
         5402 Swope Pkwy                                           Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2642796
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.28
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jordan Dame                                               Contingent
                                                                   Unliquidated
         1404 NE Parvin Rd, Apt 305                                Disputed

         Kansas City, MO 64116

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2657445
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.28
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tim Plafcan                                               Contingent
                                                                   Unliquidated
         951 Owl Creek Pkwy                                        Disputed

         Odessa, MO 64076

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2662460
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.28
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Darren Lewis                                              Contingent
                                                                   Unliquidated
         5405 E 84th Terrace                                       Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2668158
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.28
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Troy Jimerson                                             Contingent
                                                                   Unliquidated
         9108 E 90th Terr                                          Disputed

         Kansas City, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2676227
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.28
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Panyin Jimmerson                                          Contingent
                                                                   Unliquidated
                                                                   Disputed

         Kansas City, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2676227
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.28
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Abriel Halliburton                                        Contingent
                                                                   Unliquidated
         3626 Bales                                                Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2677892
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.28
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Lamontika Baker                                           Contingent
                                                                   Unliquidated
         6403 N Wayne Ave                                          Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2715372
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.29
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         William Russell                                           Contingent
                                                                   Unliquidated
         1022 E TC LEA RD                                          Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2723607
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.29
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Rebecca Russell                                           Contingent
                                                                   Unliquidated
         1022 E TC LEA RD                                          Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2723607
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.29
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Leanna Morgan                                             Contingent
                                                                   Unliquidated
         1818 NE 49th St                                           Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2731320
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.29
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Brittany Hanna                                            Contingent
                                                                   Unliquidated
         411 Cypress St                                            Disputed

         Kansas City, MO 64124

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2736157
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.29
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Benjamin Margrove                                         Contingent
                                                                   Unliquidated
         3923 N River Blvd                                         Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2746402
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.29
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Darnell Cooper                                            Contingent
                                                                   Unliquidated
         613 E 29th St                                             Disputed

         Kansas City, MO 64109

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2772898
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.29
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Marquelle Harris                                          Contingent
                                                                   Unliquidated
         2301 E 41st                                               Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2783745
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.29
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Rhiannon Edwards                                          Contingent
                                                                   Unliquidated
         14907 Grand Summit Blvd #106                              Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 2792340
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.29
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Walter Wyatt                                              Contingent
                                                                   Unliquidated
         2604 N Liberty                                            Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 3114713
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.29
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Warnita Graves                                            Contingent
                                                                   Unliquidated
         5842 Hunter Ct                                            Disputed

         Raytown, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 80500314
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.30
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Stephen Tharp                                             Contingent
                                                                   Unliquidated
         2111 Crescent Dr                                          Disputed

         Liberty, MO 64068

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600123
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.30
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jordan Osladil                                            Contingent
                                                                   Unliquidated
         833 S Locust St                                           Disputed

         Ottawa, KS 66067

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600204
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.30
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Glenda Aybar-Rodriguez                                    Contingent
                                                                   Unliquidated
         5310 Yecker Ave                                           Disputed

         Kansas City, KS 66104

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600226
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.30
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Bryan Thomas                                              Contingent
                                                                   Unliquidated
         5909 Larson                                               Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81602233
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.30
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Keith White                                               Contingent
                                                                   Unliquidated
         32 Lane P                                                 Disputed

         De Soto, KS 66018

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600271
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.30
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Kevin Scott                                               Contingent
                                                                   Unliquidated
         7910 N Grandby Ave, Apt 17                                Disputed

         Kansas City, MO 64151

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600294
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.30
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Joyce McNeal                                              Contingent
                                                                   Unliquidated
         2418 Park Ave                                             Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600300
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.30
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Christina Miller                                          Contingent
                                                                   Unliquidated
         19118 37th Terr, Apt 5                                    Disputed

         Independence, MO 64057

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600307
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.30
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Lejuan Miller                                             Contingent
                                                                   Unliquidated
         19118 37th Terr, Apt 5                                    Disputed

         Independence, MO 64057

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600307
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.30
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Denae Woods                                               Contingent
                                                                   Unliquidated
         5739 S Benton Ave                                         Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600317
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.31
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Amanda Byers                                              Contingent
                                                                   Unliquidated
         620 N Hocker Ave, Apt B                                   Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600327
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.31
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Ashli Gregory                                             Contingent
                                                                   Unliquidated
         2002 E 69th St                                            Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600332
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.31
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Peninah Ruto                                              Contingent
                                                                   Unliquidated
         10333 Earnshaw                                            Disputed

         Lenexa, KS 66215

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600333
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.31
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Kevon Harris                                              Contingent
                                                                   Unliquidated
         6715 Martha Truman Rd                                     Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600339
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.31
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jerimiah Boley                                            Contingent
                                                                   Unliquidated
         1016 SW Shady Lane                                        Disputed

         Grain Valley, MO 64029

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600343
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.31
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Leland Quint                                              Contingent
                                                                   Unliquidated
         39701 E JW Cummins Road                                   Disputed

         Oak Grove, MO 64075

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600352
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.31
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Lakendra Griswold                                         Contingent
                                                                   Unliquidated
         5901 Lexington Ave                                        Disputed

         Kansas City, MO 64123

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600354
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.31
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jerry Ryan                                                Contingent
                                                                   Unliquidated
         816 New Jersey Ave                                        Disputed

         Kansas City, KS 66101

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600367
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.31
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Donesha Allen                                             Contingent
                                                                   Unliquidated
         808 E 100th Terr, Apt 217                                 Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600383
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.31
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Patrick Cox                                               Contingent
                                                                   Unliquidated
         114 S Saxony Dr                                           Disputed

         Olathe, KS 66061

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600384
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.32
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Donshee Ashford                                           Contingent
                                                                   Unliquidated
         1501 W 25th CRT. 4                                        Disputed

         Lawrence, KS 66046

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600391
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.32
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Shanika Goday                                             Contingent
                                                                   Unliquidated
         2508 W 43rd Ave                                           Disputed

         Kansas City, KS 66103

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600393
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.32
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Danny Brown                                               Contingent
                                                                   Unliquidated
         33720 CR 260                                              Disputed

         De Witt, MO 64639

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600399
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.32
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jacueline Jarmillo                                        Contingent
                                                                   Unliquidated
         704 N 57th St                                             Disputed

         Kansas City, KS 66102

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600403
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.32
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Rosiland Holloway                                         Contingent
                                                                   Unliquidated
         8142 Troost                                               Disputed

         Kansas City, MO 64109

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600409
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.32
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jeremy Eiland                                             Contingent
                                                                   Unliquidated
         907 N Yuma                                                Disputed

         Independence, MO 64053

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600411
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.32
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Maura Murar                                               Contingent
                                                                   Unliquidated
         15404 Bellaire Ave                                        Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600412
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.32
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Juan Mendez-Pinon                                         Contingent
                                                                   Unliquidated
         802 S Noland Rd 1C                                        Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 81600414
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.32
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Matthew Winbinger                                         Contingent
                                                                   Unliquidated
         6800 E 135th St                                           Disputed

         Grandview, MO 64030

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500103
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.32
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Anthony Brown                                             Contingent
                                                                   Unliquidated
         10102 Hillcrest Rd                                        Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500106
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.33
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jose Garcia                                               Contingent
                                                                   Unliquidated
         1405 N Osage Trail                                        Disputed

         Independence, MO 64058

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500107
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.33
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Slafka Contreras                                          Contingent
                                                                   Unliquidated
         808 SW Stablewood Cir                                     Disputed

         Lees Summit, MO 64081

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500107
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.33
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Derrick Melson                                            Contingent
                                                                   Unliquidated
         8902 Manchester Ave                                       Disputed

         Kansas City, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500109
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.33
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Estella Brown                                             Contingent
                                                                   Unliquidated
         7901 Manchester Ave, Apt 1                                Disputed

         Kansas City, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500113
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.33
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jessie Bradley                                            Contingent
                                                                   Unliquidated
         11402 Manchester Ave                                      Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500115
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.33
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Angela Mays                                               Contingent
                                                                   Unliquidated
         518 N Hocker Terrace                                      Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500116
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.33
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Patrick O'Donovan                                         Contingent
                                                                   Unliquidated
         808 Cimarron Trail                                        Disputed

         Belton, MO 64012

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500117
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.33
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Chad Robertson                                            Contingent
                                                                   Unliquidated
         5213 NE 50th St                                           Disputed

         Kansas City, MO 64119

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500118
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.33
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Nathan Bunton                                             Contingent
                                                                   Unliquidated
         9104 W 69th St                                            Disputed

         Overland Park, KS 66204

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500126
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.33
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Janice Wilson                                             Contingent
                                                                   Unliquidated
         PO BOX 1409                                               Disputed

         Jefferson City, MO 65102

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500129
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.34
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Fuonbai Dauda                                             Contingent
                                                                   Unliquidated
         11300 Indiana Ave                                         Disputed

         Kansas City, MO 64137

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500133
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.34
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Layonda Morgan                                            Contingent
                                                                   Unliquidated
         8308 Grandview Lane                                       Disputed

         Overland Park, KS 66212

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500137
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.34
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Austin Miller                                             Contingent
                                                                   Unliquidated
         1473 N 1800 Rd                                            Disputed

         Carterville, MO 64835

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500201
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.34
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Keith Burris                                              Contingent
                                                                   Unliquidated
         400 E 80th                                                Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500205
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.34
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Lakeasha Williams                                         Contingent
                                                                   Unliquidated
         7107 Myrtle                                               Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500217
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.34
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Damon Shears                                              Contingent
                                                                   Unliquidated
         4150 Peaseo, Apt 205                                      Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500219
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.34
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Kenneth King                                              Contingent
                                                                   Unliquidated
         4545 S Mill St                                            Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500221
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.34
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Marlon Cole                                               Contingent
                                                                   Unliquidated
         8801 E 72nd St                                            Disputed

         Raytown, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500223
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.34
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Frank Declue                                              Contingent
                                                                   Unliquidated
         4110 Anderson Ave                                         Disputed

         Kansas City, MO 64123

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500229
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.34
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Carl Spurgeon                                             Contingent
                                                                   Unliquidated
         3001 Englewood Terr                                       Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500231
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.35
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Cameron Bolton                                            Contingent
                                                                   Unliquidated
         1710 Lakewood Terrance                                    Disputed

         Belton, MO 64012

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500233
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.35
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         JT Johnson                                                Contingent
                                                                   Unliquidated
         14101 E 49th Terr #B                                      Disputed

         Kansas City, MO 64136

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500235
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.35
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Courtney Walker                                           Contingent
                                                                   Unliquidated
         1631 Citadel Dr, Apt 89                                   Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500250
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.35
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jose Favela-Mesta                                         Contingent
                                                                   Unliquidated
         6511 E 9th St                                             Disputed

         Kansas City, MO 64125

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500253
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.35
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Joe Dean                                                  Contingent
                                                                   Unliquidated
         5403 Wayne Ave                                            Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500255
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.35
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Vanessa Dillard                                           Contingent
                                                                   Unliquidated
         1306 E 59th                                               Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    LOan No. 82500270
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.35
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Kleigh Stith                                              Contingent
                                                                   Unliquidated
         6296 Pennslvannia Ave                                     Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500271
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.35
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Garee Houston                                             Contingent
                                                                   Unliquidated
         4149 Hardesty Ave                                         Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500274
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.35
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Anthony Barrett                                           Contingent
                                                                   Unliquidated
         2824 S Appleton Ave                                       Disputed

         Independence, MO 64052

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500281
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.35
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Brittany Jones                                            Contingent
                                                                   Unliquidated
         5827 Chestnut Ave                                         Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500284
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.36
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Marcus Foster                                             Contingent
                                                                   Unliquidated
         11360 Delmar Street                                       Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500289
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.36
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Cynthis Harvey                                            Contingent
                                                                   Unliquidated
         207 Garfield Ave                                          Disputed

         Kansas City, MO 64124

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500294
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.36
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Nicolas Higginbotham                                      Contingent
                                                                   Unliquidated
         9600 E 43rd St                                            Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500300
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.36
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Sayra Williams                                            Contingent
                                                                   Unliquidated
         1903 E 24th Ter                                           Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500302
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.36
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Debby Pham                                                Contingent
                                                                   Unliquidated
         413 N Church St                                           Disputed

         Kansas City, KS 66061

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500303
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.36
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Marguarite Vaughn                                         Contingent
                                                                   Unliquidated
         4212 E 62nd St                                            Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500306
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.36
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tiffany Price                                             Contingent
                                                                   Unliquidated
         3926 Indiana Ave                                          Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500313
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.36
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Marguarite Henderson                                      Contingent
                                                                   Unliquidated
         6025 E 40th Terr                                          Disputed

         Kansas City, MO 64129

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500316
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.36
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Christy Looney                                            Contingent
                                                                   Unliquidated
         5843 E 19th Terr                                          Disputed

         Kansas City, MO 64126

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500319
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.36
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Gary Looney                                               Contingent
                                                                   Unliquidated
         5843 E 19th Terr                                          Disputed

         Kansas City, MO 64126

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500319
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.37
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Billie Simmons                                            Contingent
                                                                   Unliquidated
         7044 N Olive St, Apt D                                    Disputed

         Kansas City, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500320
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.37
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Christopher Fuqua                                         Contingent
                                                                   Unliquidated
         2919 Benton Plaza Pz                                      Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500321
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.37
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Christopher Hilton                                        Contingent
                                                                   Unliquidated
         707 Oakwood St                                            Disputed

         Harrisonville, MO 64701

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Loan No. 82500322


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.37
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Darryl Carter                                             Contingent
                                                                   Unliquidated
         5007 S Fuller Ave                                         Disputed

         Independence, MO 64055

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500323
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.37
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Andrea Jones                                              Contingent
                                                                   Unliquidated
         7912 Prospect                                             Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500324
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.37
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Christopher Ashlock                                       Contingent
                                                                   Unliquidated
         1908 E 24th St                                            Disputed

         Kansas City, MO 64127

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500331
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.37
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tasheeka Daniels                                          Contingent
                                                                   Unliquidated
         7704 E 112th Terrance                                     Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500334
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.37
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Beverly Thibault                                          Contingent
                                                                   Unliquidated
         113 Elm Street                                            Disputed

         Buckner, MO 64016

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500335
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.37
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Dorothy Franklin                                          Contingent
                                                                   Unliquidated
         5148 Plamer Drive                                         Disputed

         Kansas City, MO 64129

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500336
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.37
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Mattie Davis                                              Contingent
                                                                   Unliquidated
         1426 E 97th St, Apt A                                     Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500338
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.38
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Jamal Young                                               Contingent
                                                                   Unliquidated
         2915 Olive St                                             Disputed

         Kansas City, MO 64109

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500340
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.38
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Brandi Celestine                                          Contingent
                                                                   Unliquidated
         2050 Park Tower Dr                                        Disputed

         Kansas City, MO 64126

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500341
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.38
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Clenisha Smith                                            Contingent
                                                                   Unliquidated
         8101 E 91st St                                            Disputed

         Kansas City, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500342
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.38
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Heather Mingo                                             Contingent
                                                                   Unliquidated
         605 E Kansas Ave                                          Disputed

         Independence, MO 64050

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500344
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.38
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         James Boyd                                                Contingent
                                                                   Unliquidated
         4001 Oakley Ave                                           Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500345
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.38
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Deaha Neal                                                Contingent
                                                                   Unliquidated
         6312 Raytown Rd                                           Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500346
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.38
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Rebecca Dewitt                                            Contingent
                                                                   Unliquidated
         4031 Olive St                                             Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500347
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.38
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Christopher Blaylock                                      Contingent
                                                                   Unliquidated
         6411 Manchester Ave, Apt 6                                Disputed

         Raytown, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500348
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.38
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Shavonda Mayfield                                         Contingent
                                                                   Unliquidated
         1501 Citadel Dr, Apt 47                                   Disputed

         Kansas City, MO 64110

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500350
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.38
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Chelsie Markley                                           Contingent
                                                                   Unliquidated
         1406 Cudmore Ave                                          Disputed

         Saint Joseph, MO 64503

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500353
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.39
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Brittany Sule                                             Contingent
                                                                   Unliquidated
         4239 E 61st St                                            Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500358
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.39
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Christina Lark                                            Contingent
                                                                   Unliquidated
         5707 Swope Pkwy                                           Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500361
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.39
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Vickey Allen                                              Contingent
                                                                   Unliquidated
         8701 Buckingham Ln, Apt 9                                 Disputed

         Kansas City, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500362
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.39
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tiera Block                                               Contingent
                                                                   Unliquidated
         2209 Booth Ave                                            Disputed

         Kansas City, MO 64125

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500364
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.39
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Austin Bersch                                             Contingent
                                                                   Unliquidated
         11012 Booth Ave                                           Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500366
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.39
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Mark Adams                                                Contingent
                                                                   Unliquidated
         6012 Burcain Pl, Apt A                                    Disputed

         Gladstone, MO 64118

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500368
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.39
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Demetra Glaze                                             Contingent
                                                                   Unliquidated
         400 Lakewood Terr #204                                    Disputed

         Belton, MO 64012

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500371
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.39
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Debra O'Connel                                            Contingent
                                                                   Unliquidated
         125 Kelli Cl                                              Disputed

         Hollister, MO 65672

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500375
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.39
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Brittshay Kelley                                          Contingent
                                                                   Unliquidated
         1207 E 80th Terr                                          Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500377
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.39
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tony Long                                                 Contingent
                                                                   Unliquidated
         7200 Crisp Ave                                            Disputed

         Kansas City, MO 64133

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500381
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.40
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Peggy Stevenson                                           Contingent
                                                                   Unliquidated
         3802 Bellefontaine Ave                                    Disputed

         Kansas City, MO 64128

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500383
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor        Barton Creek Auto Credit, LLC                                     Case number (if known)
              Name



3.40
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Chantel Crawford                                          Contingent
                                                                   Unliquidated
         210 W 100th Terr                                          Disputed

         Kansas City, MO 64154

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500387
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.40
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Martes Allen                                              Contingent
                                                                   Unliquidated
         15405 E 48th Terr                                         Disputed

         Kansas City, MO 64156

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500387
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.40
3        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Tavanake Melancon                                         Contingent
                                                                   Unliquidated
         1701 Francis St                                           Disputed

         Saint Joseph, MO 64501

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500393
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.40
4        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Desiree Knott                                             Contingent
                                                                   Unliquidated
         10013 D 74th Terr                                         Disputed

         Raytown, MO 64138

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500393
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.40
5        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Ayanna Feaster                                            Contingent
                                                                   Unliquidated
         7406 Arleta BV                                            Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500394
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.40
6        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         John Torrence                                             Contingent
                                                                   Unliquidated
         6821 Chestnut Ave                                         Disputed

         Kansas City, MO 64132

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500397
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.40
7        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Brent Nabors                                              Contingent
                                                                   Unliquidated
         6121 Jackson Ave                                          Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500398
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.40
8        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Winfred Carter                                            Contingent
                                                                   Unliquidated
         6816 Crab Apple 15                                        Disputed

         Kansas City, MO 64129

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500400
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.40
9        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Isiah Wilson                                              Contingent
                                                                   Unliquidated
         10012 Freemont Ave                                        Disputed

         Kansas City, MO 64134

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500404
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.41
0        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Beverlee Kitchen                                          Contingent
                                                                   Unliquidated
         8343 Paseo Blvd                                           Disputed

         Kansas City, MO 64131

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82500409
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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              Name



3.41
1        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Cierra Dockery                                            Contingent
                                                                   Unliquidated
         3313 E 52nd St                                            Disputed

         Kansas City, MO 64130

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82773017
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes


3.41
2        Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                  Unknown
                                                                                                                  $
         Donna Smith                                               Contingent
                                                                   Unliquidated
         15 Daisy Ln                                               Disputed

         Belton, MO 64012

         Date or dates debt was incurred                          Basis for the claim:                                Description
                                                                  Potential Class Member in Barton                    Loan No. 82790397
                                                                  Creek Auto Credit, LLC v. Jessie
                                                                  Bradley


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                   No
                                                                   Yes




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Debtor         Barton Creek Auto Credit, LLC                                                Case number (if known)
               Name



 3.41
 3        Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                            Check all that apply.                                                  Unknown
                                                                                                                            $
          Maurice Edwards                                                    Contingent
                                                                             Unliquidated
          14907 Grand Summit Blvd #106                                       Disputed

          Grandview, MO 64030

          Date or dates debt was incurred                                   Basis for the claim:                                Description
                                                                            Potential Class Member in Barton                    Loan No. 82792340
                                                                            Creek Auto Credit, LLC v. Jessie
                                                                            Bradley


          Last 4 digits of account number                                   Is the claim subject to offset?
                                                                             No
                                                                             Yes


 3.41
 4        Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                            Check all that apply.                                                  Unknown
                                                                                                                            $
          Larry Long                                                         Contingent
                                                                             Unliquidated
          15405 E 3rd Terrace South                                          Disputed

          Independence, MO 64050

          Date or dates debt was incurred                                   Basis for the claim:                                Description
                                                                            Potential Class Member in Barton                    Loan No. 82801163
                                                                            Creek Auto Credit, LLC v. Jessie
                                                                            Bradley


          Last 4 digits of account number                                   Is the claim subject to offset?
                                                                             No
                                                                             Yes



Part 3:    List Others to Be Notified About Unsecured Claims

4.      List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
        collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

        If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed,
        copy the next page.

                                                                        On which line in Part 1 or Part 2 is the            Last 4 digits of account
        Name and mailing address
                                                                        related creditor (if any) listed?                   number


4.1       Angle Wilson Law LLP                                           Line    3.98
          920A East Broadway
          Suite 205                                                            Not listed. Explain
          Columbia, MO 65201




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                       page 185 of 187
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Debtor        Barton Creek Auto Credit, LLC                                   Case number (if known)
              Name




4.2      Internal Revenue Service (IRS)                       Line
         Centralized Insolvency Office
         P.O. Box 7346                                           Not listed. Explain
         Philadelphia, PA 19101-7346                                 Internal Revenue Service
                                                                     (IRS)


4.3      Kansas Department of Revenue                         Line
         PO Box 3506
         Topeka, KS 66625-3506                                   Not listed. Explain
                                                                     Bankruptcy Unit - Kansas
                                                                     Department of Revenue


4.4      Kansas Office of the State Bank Commissioner         Line
         700 S.W. Jackson, Suite 300
         Topeka, KS 66603-3796                                   Not listed. Explain
                                                                     Audited Barton Creek Auto
                                                                     Credit, LLC in 2019, 2021,
                                                                     and 2022.


4.5      Missouri Department of Revenue                       Line
         Attn: Bankruptcy Unit
         P.O. Box 475                                            Not listed. Explain
         Jefferson City, MO 65105                                    Bankruptcy Unit for Missouri
                                                                     Department of Revenue


4.6      Missouri Division of Finance                         Line
         301 West High Street, Room 630
         P.O. Box 716                                            Not listed. Explain
         Jefferson City, MO 65102-0716                               Audited Barton Creek Auto
                                                                     Credit, LLC in 2019 and 2022


4.7      RKB Law, LLC                                         Line   3.129
         PO Box 7374
         Kansas City, MO 64116                                   Not listed. Explain




4.8      Texas Comptroller of Public Accounts                 Line
         Revenue Accounting Division - Bankruptcy
         Section                                                 Not listed. Explain
         P.O. Box 13528 Capitol Station                              State Taxing Authorities - All
         Austin, TX 78711                                            Divisions


4.9      Texas Office of Consumer Credit                      Line
         Commissioner (OCCC)
         2601 N Lamar Blvd                                       Not listed. Explain
         Austin, TX 78705                                            Audited Barton Creek Auto
                                                                     Credit, LLC in 2019 and 2022




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Debtor        Barton Creek Auto Credit, LLC                                    Case number (if known)
              Name



Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims


5.    Add the amounts of priority and nonpriority unsecured claims.                   Total of claim amounts


5a.   Total claims from Part 1                                           5a.           $                     0.00



5b.   Total claims from Part 2                                           5b.     +     $                94,217.25




5c.   Total of Parts 1 and 2                                             5c.           $                94,217.25
      Lines 5a + 5b = 5c.




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Fill in this information to identify your case: 

Debtor Name      Barton Creek Auto Credit, LLC

United States Bankruptcy Court for the: Western District of Texas                                                                            Check if this is an
                                                                                                                                              amended filing
Case number (If known):                                                            Chapter     7




Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
           Form 206A/B).

                                                                                       State the name and mailing address for all other parties with whom
2.     List all contracts and unexpired leases
                                                                                       the debtor has an executory contract or unexpired lease

2.1    State what the contract or
                                                                                       Sharp Business Systems
       lease is for and the nature
       of the debtor’s interest               Business copier                          PO Box 41602
                                                                                       Philadelphia, PA 19101-1602
       State the term remaining

       List the contract number of
       any government contract


2.2    State what the contract or
                                              Collection Agency for                    Specified Credit Association 1, Inc.
       lease is for and the nature
       of the debtor’s interest               Notes Receivable                         2388 Schuetz Rd.
                                                                                       Suite A-100
       State the term remaining
                                                                                       Saint Louis, MO 63146

       List the contract number of
       any government contract




Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                                  page 1 of 1
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Fill in this information to identify your case: 

Debtor Name      Barton Creek Auto Credit, LLC

United States Bankruptcy Court for the: Western District of Texas                                                                       Check if this is an
                                                                                                                                         amended filing
Case number (If known):




Official Form 206H
Schedule H: Your Codebtors                                                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.
1.    Does the debtor have any codebtors?
         No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
         Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                        Column 2: Creditor

                                                                                                                                   Check all schedules that
      Name and description            Mailing address                                           Name
                                                                                                                                   apply:




Official Form 206H                                               Schedule H: Your Codebtors                                                         page 1 of 1
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Fill in this information to identify your case: 

Debtor name      Barton Creek Auto Credit, LLC

United States Bankruptcy Court for the: Western District of Texas                                                             Check if this is an
                                                                                                                               amended filing
Case number (If known):




Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’s name and case number (if known).



Part 1:    Income

1.   Gross revenue from business
         None

           Identify the beginning and ending dates of the debtor’s fiscal year,        Sources of income                          Gross income
           which may be a calendar year                                                Check all that apply.                      (before deductions and
                                                                                                                                  exclusions)


           From the beginning of the      From 1/1/2023   to           Filing date      Operating a business                     $            1,094.70
           fiscal year to filing date:         MM/DD/YYYY                               Other
           For prior year:                From 1/1/2022   to 12/31/2022                 Operating a business                     $            9,597.99
                                               MM/DD/YYYY    MM/DD/YYYY                 Other
           For the year before that:      From 1/1/2021   to 12/31/2021                 Operating a business                     $          64,657.15
                                               MM/DD/YYYY    MM/DD/YYYY                 Other

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
         None

                                                                                       Description of sources of revenue          Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the      From                   to    Filing date                                                $
           fiscal year to filing date:              MM/DD/YYYY

           For prior year:                From                   to                                                               $
                                                    MM/DD/YYYY        MM/DD/YYYY

           For the year before that:      From                   to                                                               $
                                                    MM/DD/YYYY        MM/DD/YYYY




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Debtor         Barton Creek Auto Credit, LLC                                                      Case number (if known)
               Name



Part 2:     List Certain Transfers Made Before Filing for Bankruptcy


3.    Certain payments or transfers to creditors within 90 days before filing this case
      List payments or transfers⎯including expense reimbursements⎯to any creditor, other than regular employee compensation, within
      90 days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This
      amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
          None

            Creditor’s name and address                       Dates               Total amount or value          Reasons for payment or transfer
                                                                                                                 Check all that apply

     3.1                                                                          $                                Secured debt
            Creditor’s Name                                                                                        Unsecured loan repayments
                                                                                                                   Suppliers or vendors
            Number      Street                                                                                     Services
                                                                                                                   Other
                                                                                                                             ¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯
            City                   State ZIP Code



4.    Payments or other transfers of property made within 1 year before filing this case that benefited any insider
      List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an
      insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the
      insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or
      after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
      control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor
      and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
          None

            Insider’s name and address                        Dates               Total amount or value          Reasons for payment or transfer

     4.1                                                                         $
            Insider’s Name


            Number      Street


            City                   State ZIP Code

            Relationship to debtor




5.    Repossessions, foreclosures, and returns
      List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
      sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
          None




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Debtor          Barton Creek Auto Credit, LLC                                                       Case number (if known)
                Name



            Creditor’s name and address                       Description of the property                               Date                Value of property

     5.1                                                                                                                                    $
            Creditor’s Name


            Number       Street


            City                   State ZIP Code



6.    Setoffs
      List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
      the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
          None

            Creditor’s name and address                       Description of the action creditor took                   Date action         Amount
                                                                                                                        was taken

     6.1                                                                                                                                    $
            Creditor’s Name


            Number       Street

                                                             Last 4 digits of account number: XXXX–
            City                   State ZIP Code




Part 3:      Legal Actions or Assignments


7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
      List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
      was involved in any capacity—within 1 year before filing this case.
          None

            Case title                              Nature of case                           Court or agency’s name and address                   Status of case

         Leland R. Quint v. Barton                                                           In the 16th Judicial Circuit Court,                    Pending
     7.1 Creek Auto Credit, LLC                     Petition for Damages                     Jackson County, Missouri                               On appeal
                                                                                             Creditor’s Name
                                                                                                                                                    Concluded
            Case Number
            2216-CV00994                                                                     308 W Kansas
                                                                                             Number          Street

                                                                                             Independence                MO      64050
                                                                                             City                        State   ZIP Code




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Debtor         Barton Creek Auto Credit, LLC                                                      Case number (if known)
               Name



            Case title                             Nature of case                          Court or agency’s name and address                    Status of case

         Barton Creek Auto Credit,                                                                                                                Pending
         LLC d/b/a Strategic Finance,              Seeking to Collect on a                 In the 16th Judicial Circuit Court,                    On appeal
     7.2 LLC v. Jessie Bradley                     Deficiency Owed.                        Jackson County, Missouri
                                                                                           Creditor’s Name                                        Concluded
            Case Number
            1816-CV06571                                                                   308 W Kansas
                                                                                           Number          Street

                                                                                           Independence                  MO      64050
                                                                                           City                          State   ZIP Code



8.    Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
      hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
          None

            Custodian’s name and address                       Description of the property                              Value


     8.1                                                                                                            $
            Custodian’s name
                                                               Case title                                               Court name and address



            Number       Street                                                                                         Court’s Name
                                                               Case number


            City                    State   ZIP Code                                                                    Number      Street
                                                               Date of order or assignment


                                                                                                                        City                 State   ZIP Code




Part 4:     Certain Gifts and Charitable Contributions


9.    List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
      of the gifts to that recipient is less than $1,000
          None




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Debtor           Barton Creek Auto Credit, LLC                                                   Case number (if known)
                 Name



              Recipient’s name and address                      Description of the gifts or contributions             Dates given          Value

       9.1                                                                                                                                  $
              Recipient’s Name



              Number      Street



              City                   State    ZIP Code

              Recipient’s relationship to debtor




Part 5:       Certain Losses


10.     All losses from fire, theft, or other casualty within 1 year before filing this case.
            None

              Description of the property lost             Amount of payments received for the loss                       Date of loss       Value of property
              and how the loss occurred                    If you have received payments to cover the loss, for                              lost
                                                           example, from insurance, government compensation,
                                                           or tort liability, list the total received.
                                                           List unpaid claims on Official Form 106A/B (Schedule
                                                           A/B: Assets – Real and Personal Property).


      10.1                                                                                                                                   $




Part 6:       Certain Payments or Transfers


11.     Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
        the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
        seeking bankruptcy relief, or filing a bankruptcy case.
            None




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                 Name



              Who was paid or received the transfer?             If not money, describe any property transferred             Dates             Total amount or
                                                                                                                                               value

      11.1 Hayward PLLC                                                                                                                         $        4,500.00
              Recipient’s Name


              7600 Burnet Road, Suite 530
              Number       Street


              Austin                   TX       78757
              City                     State    ZIP Code

              Email or website address




              Who made the payment, if not debtor?




12.     Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
        a self-settled trust or similar device.
        Do not include transfers already listed on this statement.
            None

              Name of trust or device                           Describe any property transferred                      Dates transfers         Total amount or
                                                                                                                       were made               value

      12.1                                                                                                                                      $

              Trustee




13.     Transfers not already listed on this statement
        List any transfers of money or other property⎯by sale, trade, or any other means⎯made by the debtor or a person acting on behalf of the debtor
        within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
        Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
            None

              Who received transfer?                             Description of property transferred or                     Date transfer        Total amount or
                                                                 payments received or debts paid in exchange                was made             value

      13.1                                                                                                                                          $
              Recipient’s Name



              Number       Street



              City                     State    ZIP Code

              Relationship to debtor




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Debtor             Barton Creek Auto Credit, LLC                                                    Case number (if known)
                   Name



Part 7:       Previous Locations


14.     Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
            Does not apply




Part 8:       Health Care Bankruptcies


15.     Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        ⎯⎯ diagnosing or treating injury, deformity, or disease, or
        ⎯⎯ providing any surgical, psychiatric, drug treatment, or obstetric care?
            No. Go to Part 9.
            Yes. Fill in the information below.

              Facility name and address                          Nature of the business operation, including type of                     If debtor provides meals
                                                                 services the debtor provides                                            and housing, number of
                                                                                                                                         patients in debtor’s care


      15.1
              Facility Name
                                                                 Location where patient records are maintained (if different
                                                                                                                                         How are records kept?
                                                                 from facility address). If electronic, identify any service provider.
                                                                                                                                         Check all that apply:
              Number           Street
                                                                                                                                          Electronically
                                                                                                                                          Paper
              City                      State    ZIP Code




Part 9:       Personally Identifiable Information


16.     Does the debtor collect and retain personally identifiable information of customers?
            No.
                                                                                     Name, Address, Telephone Number, SSN, and image of Driver's
            Yes. State the nature of the information collected and retained.        License
                     Does the debtor have a privacy policy about that information?
                        No
                        Yes




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                 Name



17.     Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
        pension or profit-sharing plan made available by the debtor as an employee benefit?
            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?
                        No. Go to Part 10.
                        Yes. Fill in below:
                          Name of plan                                                                            Employer identification number of the plan



                          Has the plan been terminated?

                           No
                           Yes



Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


18.     Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
        brokerage houses, cooperatives, associations, and other financial institutions.
            None

              Financial institution name and address              Last 4 digits of      Type of account                    Date account        Last balance
                                                                  account number                                           was closed,         before closing or
                                                                                                                           sold, moved,        transfer
                                                                                                                           or transferred

      18.1                                                         XXXX–                 Checking                                              $
              Name                                                                       Savings
                                                                                         Money market
              Number          Street                                                     Brokerage
                                                                                         Other
                                                                                                   ¯¯¯¯¯¯¯¯¯¯¯¯¯
              City                        State    ZIP Code



19.     Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
            None

              Depository institution name and address               Names of anyone with access to it           Description of the contents          Does debtor
                                                                                                                                                     still have it?

      19.1                                                                                                                                             No
              Name                                                                                                                                     Yes
                                                                    Address


              Number           Street


              City                        State     ZIP Code




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                 Name



20.     Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.
            None

              Facility name and address                            Names of anyone with access to it              Description of the contents           Does debtor
                                                                                                                                                        still have it?

                                                                                                                                                         No
      20.1                                                                                                                                               Yes
              Name


                                                                   Address


              Number       Street



              City                     State    ZIP Code




Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own


21.     Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
        trust. Do not list leased or rented property.
            None

              Owner’s name and address                             Location of the property                    Description of the property             Value

      21.1                                                                                                                                             $
              Owner’s Name



              Number       Street



              City                    State    ZIP Code




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Debtor            Barton Creek Auto Credit, LLC                                                 Case number (if known)
                  Name



Part 12:      Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
◼ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
    regardless of the medium affected (air, land, water, or any other medium).
◼ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.
◼ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
  or a similarly harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22.     Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
            No
            Yes. Provide details below.

              Case title                              Court or agency name and address                  Nature of case                           Status of case


      22.1                                                                                                                                        Pending
                                                      Name                                                                                        On appeal
              Case Number                                                                                                                         Concluded

                                                      Number     Street



                                                      City                   State ZIP Code



23.     Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?
         No
            Yes. Provide details below.

              Site name and address                            Governmental unit name and address                  Environmental law, if          Date of notice
                                                                                                                   known

      23.1
              Name                                              Name



              Number       Street                               Number       Street



              City                    State    ZIP Code         City                   State    ZIP Code



24.     Has the debtor notified any governmental unit of any release of hazardous material?
            No
            Yes. Provide details below.




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Debtor           Barton Creek Auto Credit, LLC                                                  Case number (if known)
                 Name



              Site name and address                             Governmental unit name and address                  Environmental law, if       Date of notice
                                                                                                                    known

      24.1
              Name                                               Name



              Number          Street                             Number      Street



              City                      State    ZIP Code        City                  State   ZIP Code




Part 13:      Details About the Debtor’s Business or Connections to Any Business


25.     Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.
            None

              Business name and address                         Describe the nature of the business         Employer Identification number
                                                                                                            Do not include Social Security number or ITIN.

      25.1                                                                                                   EIN:
              Name
                                                                                                            Dates business existed

                                                                                                            From                       To   Present
              Number          Street



              City                      State    ZIP Code



26.     Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
                    None

                       Name and address                                                                             Dates of service

             26a.1                                                                                                  From                    To Present
                       Name


                       Number          Street


                       City                                                           State    ZIP Code


        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
             statement within 2 years before filing this case.
                    None




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Debtor         Barton Creek Auto Credit, LLC                                                    Case number (if known)
               Name



                     Name and address                                                                              Dates of service

          26b.1      Estes & Associates, LLC                                                                        From                  To Present
                     Name
                     Attn: Kathy Bonuchi
                     3702 W. Truman Blvd.
                     Number       Street

                     Jefferson City                                                  MO        65109
                     City                                                            State     ZIP Code


      26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                   None

                                                                                                                   If any books of account and records are
                     Name and address
                                                                                                                   unavailable, explain why

          26c.1      Barton Creek Auto Credit Holdings, LLC
                     Name

                     21701 Interstate 35
                     Number       Street

                     Kyle                                                            TX        78640
                     City                                                            State     ZIP Code


                                                                                                                   If any books of account and records are
                     Name and address
                                                                                                                   unavailable, explain why

          26c.2      Estes & Associates, LLC
                     Name

                     Attn: Kathy Bonuchi
                     3702 W. Truman Blvd.
                     Number       Street

                     Jefferson City                                                  MO        65109
                     City                                                            State     ZIP Code


      26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
                   None

                     Name and address

          26d.1
                     Name


                     Number       Street



                     City                                                            State     ZIP Code



27.   Inventories
      Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         No
         Yes. Give the details about the two most recent inventories.




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Debtor          Barton Creek Auto Credit, LLC                                                    Case number (if known)
                Name



              Name of the person who supervised the taking of the inventory                                    Date of          The dollar amount and basis
                                                                                                               inventory        (cost, market, or other basis)
                                                                                                                                of each inventory
                                                                                                                                   $

              Name and address of the person who has possession of inventory records

      27.1
              Name


              Number                 Street


              City                                                               State    ZIP Code



28.     List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
        control of the debtor at the time of the filing of this case.

              Name                                     Address                                 Position and nature of any interest          % of interest, if any

                                                        4415 Speedway
       28.1     Kelly Stump                             Austin, TX 78751                         Managing Member                             3.01

                                                        47203 Highway 118
       28.2     Vernon Stump                            Alpine, TX 79830                         Managing Member                             24.90


 29.     Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
             No
             Yes. Identify below.

               Name                                    Address                                Position and nature of        Period during which position or
                                                                                              any interest                  interest was held


       29.1                                                                                                                 From                 To Present


 30.     Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
             No
             Yes. Identify below.




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Debtor          Barton Creek Auto Credit, LLC                                                 Case number (if known)
                Name



              Name and address of recipient                              Amount of money or description and            Dates              Reason for
                                                                         value of property                                                providing the
                                                                                                                                          value

      30.1
              Recipient’s Name


              Number        Street


              City                           State   ZIP Code

              Relationship to debtor




31.   Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
          No
          Yes. Identify below.

             Name of the parent corporation                                                   Employer Identification number of the parent corporation

                                                                                              EIN:


32.   Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
          No
          Yes. Identify below.

             Name of the pension fund                                                         Employer Identification number of the pension fund

                                                                                              EIN:



Part 14:     Signature and Declaration


       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.
       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.
       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on     4/14/2023
                       MM/DD/YYYY


            /s/ Kelly Stump
             Signature of individual signing on behalf of the debtor
                                                                                       Printed name Kelly Stump



             Position or relationship to debtor   Manager

       Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
            No
            Yes




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                                                United States Bankruptcy Court
                                                      Western District of Texas
In re   Barton Creek Auto Credit, LLC                                  Case No.
                                                  Debtor(s)            Chapter      7




                               VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date:     4/14/2023                                                        /s/ Kelly Stump
                                                                           Kelly Stump
                                                                           Signature of Debtor




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                                                Aaron Martinez
                                                10107 Central St, Apt 103
                                                Kansas City, MO 64114



                                                Abriel Halliburton
                                                3626 Bales
                                                Kansas City, MO 64128



                                                Adam Barber
                                                904 Quail Creek Drive
                                                Independence, MO 64055



                                                Adam Lee Nguyen
                                                8001 Tantara Ct
                                                Austin, TX 78729



                                                Adam Reed
                                                14068 Mountain Taber Road
                                                Odessa, MO 64076



                                                Adonaria Robinson
                                                18508 E 3rd St Ct N
                                                Independence, MO 64056



                                                Adriana Saldona
                                                3244 Morrell Ave
                                                Kansas City, MO 64123



                                                Allyson Maxwell
                                                1304 SE Rosehill Dr
                                                Lees Summit, MO 64081



                                                Alyssa Soto
                                                11707 Vance Jackson Rd
                                                San Antonio, TX 78229




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                                                Amanda Byers
                                                620 N Hocker Ave, Apt B
                                                Independence, MO 64050



                                                Amanda Paris
                                                18205 East 51st Street Ct D
                                                Independence, MO 64055



                                                Amia Norton
                                                8822 Highland Ave
                                                Kansas City, MO 64132



                                                Andia Ammons
                                                14419 Craig Ave
                                                Grandview, MO 64030



                                                Andrea Jones
                                                7912 Prospect
                                                Kansas City, MO 64132



                                                Andrew Carrillo
                                                8720 PFlumm Court, Apt 202
                                                Lenexa, KS 66215



                                                Angela Mays
                                                518 N Hocker Terrace
                                                Independence, MO 64050



                                                Angelisha Hudson
                                                12910 E 40 Highway
                                                Independence, MO 64055



                                                Angle Wilson Law LLP
                                                920A East Broadway
                                                Suite 205
                                                Columbia, MO 65201




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                                                Anthony Barrett
                                                2824 S Appleton Ave
                                                Independence, MO 64052



                                                Anthony Braxton
                                                14316 E Kentucky
                                                Independence, MO 64055



                                                Anthony Brown
                                                10102 Hillcrest Rd
                                                Kansas City, MO 64134



                                                Anthony Dismuke
                                                208 N Willow
                                                Independence, MO 64054



                                                Anthony Wise
                                                9930 Harrison St
                                                Kansas City, MO 64131



                                                April Graves
                                                301 West 132st
                                                Kansas City, MO 64145



                                                April Sanders
                                                2109 Swisher Dr
                                                Clinton, MO 64735



                                                Aquisha Frazier
                                                311 NE 94th Street, Apt 260
                                                Kansas City, MO 64155



                                                Arthur Maples
                                                11804 Summit Camp Road
                                                Lexington, MO 64067




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                                                Ashley Lyles
                                                5924 Cypress Pl
                                                Kansas City, MO 64130



                                                Ashley Williams
                                                7247 NE 47 Terr
                                                Kansas City, MO 64117



                                                Ashli Gregory
                                                2002 E 69th St
                                                Kansas City, MO 64132



                                                Aundrenecca Walker
                                                9908 Locust St
                                                Kansas City, MO 64131



                                                Austin Bersch
                                                11012 Booth Ave
                                                Kansas City, MO 64134



                                                Austin Brown
                                                1101 Harlington Place, Apt 5
                                                Blue Springs, MO 64015



                                                Austin Miller
                                                1473 N 1800 Rd
                                                Carterville, MO 64835



                                                Ayanna Feaster
                                                7406 Arleta BV
                                                Kansas City, MO 64132



                                                Ayisha Pena
                                                3919 Perrin Central Blvd., Apt. 1214
                                                San Antonio, TX 78217




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                                                Benjamin Margrove
                                                3923 N River Blvd
                                                Independence, MO 64050



                                                Beverlee Kitchen
                                                8343 Paseo Blvd
                                                Kansas City, MO 64131



                                                Beverly Thibault
                                                113 Elm Street
                                                Buckner, MO 64016



                                                Billie Simmons
                                                7044 N Olive St, Apt D
                                                Kansas City, MO 64118



                                                Blythe Harper
                                                16616 E 3rd Terr N
                                                Independence, MO 64056



                                                Brandi Celestine
                                                2050 Park Tower Dr
                                                Kansas City, MO 64126



                                                Brandon Hood
                                                8004 E 130th St
                                                Grandview, MO 64030



                                                Brandon Lindsey
                                                721 N Liberty St
                                                Independence, MO 64050



                                                Brandy Terry
                                                912 Benton Blvd
                                                Kansas City, MO 64127




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                                                Brenda Hastings
                                                5320 Appleton Ave
                                                Kansas City, MO 64133



                                                Brenda Minter
                                                3516 Spruce St
                                                Kansas City, MO 64109



                                                Brent Nabors
                                                6121 Jackson Ave
                                                Kansas City, MO 64130



                                                Brian Claypool
                                                4495 SE 69 Hiway
                                                Lathrop, MO 64465



                                                Brieta Tipton
                                                3732 NE Ellison Dr
                                                Lees Summit, MO 64064



                                                Brigitte Emerson
                                                1818 E 79th Street
                                                Kansas City, MO 64032



                                                Brittany Hanna
                                                411 Cypress St
                                                Kansas City, MO 64124



                                                Brittany J. Clark
                                                3315 Benton Blvd
                                                Kansas City, MO 64128



                                                Brittany Jones
                                                5827 Chestnut Ave
                                                Kansas City, MO 64130




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                                                Brittany Maldonado
                                                628 Myrtle
                                                Kansas City, MO 64124



                                                Brittany Sule
                                                4239 E 61st St
                                                Kansas City, MO 64130



                                                Brittshay Kelley
                                                1207 E 80th Terr
                                                Kansas City, MO 64131



                                                Brooke Jacks
                                                1801 SE Timbercreek Ct
                                                Blue Springs, MO 64014



                                                Bryan Thomas
                                                5909 Larson
                                                Kansas City, MO 64133



                                                Calvin Poke
                                                11007 Beacon Ave
                                                Kansas City, MO 64134



                                                Cameron Bolton
                                                1710 Lakewood Terrance
                                                Belton, MO 64012



                                                Cameron Gilstrap
                                                322 Dundee Rd
                                                Smithville, MO 64089



                                                Cameron Ray
                                                11210 Puttman St
                                                Independence, MO 64054




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                                                Carl Johnson
                                                2516 Troost, Apt 102
                                                Kansas City, MO 64108



                                                Carl Spurgeon
                                                3001 Englewood Terr
                                                Independence, MO 64052



                                                Carly Walton
                                                532 Stone Arch Dr
                                                Independence, MO 64052



                                                Catherine Smith
                                                3609 Blue Ridge, Apt 2
                                                Grandview, MO 64030



                                                Cedric Williams
                                                1620 Spruce
                                                Kansas City, MO 64127



                                                Celinda Rogers
                                                2080 SE Red Lane
                                                Lathrop, MO 64465



                                                Chad Robertson
                                                5213 NE 50th St
                                                Kansas City, MO 64119



                                                Chandra Schwartz
                                                203 East Porter
                                                Kirksville, MO 63501



                                                Chanille Madden
                                                10008 E 60th Terrace
                                                Kansas City, MO 64133




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                                                Chantel Crawford
                                                210 W 100th Terr
                                                Kansas City, MO 64154



                                                Charles Watkins
                                                1708 E 60th St
                                                Kansas City, MO 64110



                                                Charlie Futrell
                                                600 E Ash
                                                Raymore, MO 64083



                                                Charmus Bell
                                                8822 Flora Ave
                                                Kansas City, MO 64131



                                                Chase
                                                P.O Box 15298
                                                Wilmington, DE 19850



                                                Chelsie Markley
                                                1406 Cudmore Ave
                                                Saint Joseph, MO 64503



                                                Chistina Strother
                                                5201 E 7th St, Apt A
                                                Kansas City, MO 64124



                                                Christina Lark
                                                5707 Swope Pkwy
                                                Kansas City, MO 64130



                                                Christina Miller
                                                19118 37th Terr, Apt 5
                                                Independence, MO 64057




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                                                Christina R. Enrique
                                                4039 Coral Sunrise
                                                San Antonio, TX 78244



                                                Christopher Ashlock
                                                1908 E 24th St
                                                Kansas City, MO 64127



                                                Christopher Blaylock
                                                6411 Manchester Ave, Apt 6
                                                Raytown, MO 64133



                                                Christopher Fuqua
                                                2919 Benton Plaza Pz
                                                Kansas City, MO 64127



                                                Christopher Hilton
                                                707 Oakwood St
                                                Harrisonville, MO 64701



                                                Christopher Jones
                                                12518 E 40th St S, Apt B
                                                Independence, MO 64055



                                                Christopher Morgan
                                                1011 Newton
                                                Kansas City, MO 64127



                                                Christopher Senger
                                                9127 Westbrooke Dr
                                                Shawnee Mission, KS 66214



                                                Christy Looney
                                                5843 E 19th Terr
                                                Kansas City, MO 64126




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                                                Cierra Chrisman
                                                6704 E 129th
                                                Grandview, MO 64030



                                                Cierra Dockery
                                                3313 E 52nd St
                                                Kansas City, MO 64130



                                                Clarissa Pickens
                                                11245 Calcio Dr
                                                Kansas City, MO 64137



                                                Clenisha Smith
                                                8101 E 91st St
                                                Kansas City, MO 64138



                                                Corbyn Schuler
                                                108 Duck Rd
                                                Grandview, MO 64030



                                                Cory Phelps
                                                1457 Haskell Rd
                                                Williamsburg, KS 66095



                                                Courtney Walker
                                                1631 Citadel Dr, Apt 89
                                                Kansas City, MO 64110



                                                Creditor's Captive Formation Corp.
                                                P.O. Box 360
                                                Ketchum, OK 74349



                                                Cresencio Medina
                                                9118 George Kyle Street
                                                San Antonio, TX 78240




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                                                Curtis Gordon
                                                3526 S Emery Street
                                                Independence, MO 64055



                                                Cynthia Campbell
                                                5821 NW Creekview Dr
                                                Kansas City, MO 64152



                                                Cynthia Livingston
                                                1324 West 24th Street
                                                Independence, MO 64052



                                                Cynthis Harvey
                                                207 Garfield Ave
                                                Kansas City, MO 64124



                                                Damon Shears
                                                4150 Peaseo, Apt 205
                                                Kansas City, MO 64110



                                                Damonique Wesson
                                                8660 Alden
                                                Lenexa, KS 66215



                                                Daniel Clark
                                                2725 S Wall
                                                Joplin, MO 64808



                                                Daniel Weiser
                                                875 Washington St
                                                Weston, MO 64098



                                                Danny Brown
                                                33720 CR 260
                                                De Witt, MO 64639




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                                                Darian Holmes
                                                3647 NE Beechwood Dr
                                                Lees Summit, MO 64064



                                                Darnell Cooper
                                                613 E 29th St
                                                Kansas City, MO 64109



                                                Darren Lewis
                                                5405 E 84th Terrace
                                                Kansas City, MO 64132



                                                Darryl Carter
                                                5007 S Fuller Ave
                                                Independence, MO 64055



                                                David Barrolle
                                                1710 5th Ave
                                                Saint Joseph, MO 64505



                                                David Gates
                                                1350 S Kings Hiway
                                                Independence, MO 64055



                                                David Leonard
                                                14710 Pine View Dr
                                                Grandview, MO 64030



                                                Davidson Document Solutions, Inc.
                                                2600 Longhorn Blvd. #102
                                                Austin, TX 78758



                                                Deaha Neal
                                                6312 Raytown Rd
                                                Kansas City, MO 64133




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                                                Dealer Socket, Inc.
                                                1500 Solana Blvd.
                                                Building C, Suite 6300
                                                Westlake, TX 76262



                                                Deandre Washington
                                                1303 SE 6th
                                                Lees Summit, MO 64063



                                                Debby Pham
                                                413 N Church St
                                                Kansas City, KS 66061



                                                Debra O'Connel
                                                125 Kelli Cl
                                                Hollister, MO 65672



                                                Deidranience Lee
                                                4139 NE Wheeling
                                                Kansas City, MO 64117



                                                Delana Nicholson
                                                411 A NE Westwind Dr
                                                Lees Summit, MO 64086



                                                Demar Young
                                                200 Wilshire
                                                Liberty, MO 64068



                                                Demetra Glaze
                                                400 Lakewood Terr #204
                                                Belton, MO 64012



                                                Denae Woods
                                                5739 S Benton Ave
                                                Kansas City, MO 64130




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                                                Derek French
                                                11623 Richmon Ave
                                                Kansas City, MO 64134



                                                Derek Hershman
                                                2004 SW Sandstone Ct
                                                Blue Springs, MO 64014



                                                Derrick Melson
                                                8902 Manchester Ave
                                                Kansas City, MO 64138



                                                Desiree Knott
                                                10013 D 74th Terr
                                                Raytown, MO 64138



                                                Donesha Allen
                                                808 E 100th Terr, Apt 217
                                                Kansas City, MO 64131



                                                Donna Smith
                                                15 Daisy Ln
                                                Belton, MO 64012



                                                Donna Soverns
                                                9118 Askew Avenue
                                                Kansas City, MO 64132



                                                Donshee Ashford
                                                1501 W 25th CRT. 4
                                                Lawrence, KS 66046



                                                Dorothy Franklin
                                                5148 Plamer Drive
                                                Kansas City, MO 64129




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                                                Ebony Banks
                                                11028 Greenwood Road
                                                Kansas City, MO 64134



                                                Ebony Warren
                                                7210 Hullwood St
                                                Kansas City, MO 64133



                                                Ebony Williams
                                                808 E Hayward Ave
                                                Independence, MO 64055



                                                Edcinda Heard
                                                2207 Larkspur
                                                Excelsior Springs, MO 64024



                                                Edison Linare
                                                1430 Frontier Valley #4
                                                Austin, TX 78741



                                                Edith Lara
                                                118 N Hardesty
                                                Kansas City, MO 64123



                                                Edward Bozeman
                                                18901 East Susquehanna Ridge
                                                Independence, MO 64056



                                                Edween Anderson
                                                10729 Cambridge Ave
                                                Kansas City, MO 64134



                                                Edwin Vega
                                                16805 E. Lakspur Ln #4
                                                Independence, MO 64055




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                                                Elaina Brancato
                                                2124 Buron Dr #162
                                                Austin, TX 78741



                                                Elizabeth Sprague
                                                2200 S Cedar
                                                Independence, MO 64052



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                                                Overland Park, KS 66210



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                                                Atlanta, GA 30374-0253



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                                                Francisco Leal
                                                4016 Anderson Ave
                                                Kansas City, MO 64123



                                                Frank Declue
                                                4110 Anderson Ave
                                                Kansas City, MO 64123




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                                                Fuonbai Dauda
                                                11300 Indiana Ave
                                                Kansas City, MO 64137



                                                Garee Houston
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                                                Kansas City, MO 64130



                                                Gary Looney
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                                                Gayle Burelson
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                                                Lees Summit, MO 64081



                                                Hali Jones
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                                                Grain Valley, MO 64029



                                                Heather Maxwell
                                                18309 E 12 Terr N
                                                Independence, MO 64056



                                                Heather Mingo
                                                605 E Kansas Ave
                                                Independence, MO 64050




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                                                Herbert William
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                                                Kansas City, MO 64128



                                                Holly Robinson
                                                515 S Sunrise Dr
                                                Raymore, MO 64083



                                                Ignancio Munguia
                                                7719 Mary Carolyn
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                                                Centralized Insolvency Office
                                                P.O. Box 7346
                                                Philadelphia, PA 19101-7346



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                                                Ivy Christman
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                                                Jack Nichelson
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                                                Independence, MO 64056



                                                Jacob Winters
                                                2908 S Ralston Ave
                                                Independence, MO 64052



                                                Jacquella Carter
                                                134 Mott Dr
                                                Raymore, MO 64083




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                                                Jacueline Jarmillo
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                                                Kansas City, KS 66102



                                                Jamal Young
                                                2915 Olive St
                                                Kansas City, MO 64109



                                                James Barton
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                                                James Boyd
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                                                James Jones
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                                                Lexington, MO 64067



                                                James King
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                                                Jamie Burnett
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                                                Raytown, MO 64138



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                                                16711 A E. 28th Place
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                                                Janice Wilson
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                                                Jaron Greathouse
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                                                Jarrod Blackman
                                                16806 E Larkspur Ln, Apt 4
                                                Independence, MO 64055



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                                                Jeffrey A. Stump
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                                                Jerimiah Boley
                                                1016 SW Shady Lane
                                                Grain Valley, MO 64029



                                                Jermaine Campbell
                                                3607 N Cleveland Ave
                                                Kansas City, MO 64117




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                                                Jermaine Holloway
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                                                Kansas City, MO 64131



                                                Jerry Ryan
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                                                Joe Dean
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                                                John Bonacorso
                                                6324 North Cleveland Ave
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                                                John Torrence
                                                6821 Chestnut Ave
                                                Kansas City, MO 64132




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                                                Johnnie Nelson
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                                                Raymore, MO 64083



                                                Jonthan Leal
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                                                Kansas City, MO 64111



                                                Jordan Banks
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                                                Kansas City, MO 64130



                                                Jordan Beach
                                                1875 Kingbird Ct
                                                Liberty, MO 64068



                                                Jordan Dame
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                                                Jordan Johnson
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                                                Jordan Osladil
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                                                Ottawa, KS 66067



                                                Jorge Pina
                                                18430 W 152nd Terr
                                                Olathe, KS 66062



                                                Jose Favela-Mesta
                                                6511 E 9th St
                                                Kansas City, MO 64125




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                                                Jose Garcia
                                                1405 N Osage Trail
                                                Independence, MO 64058



                                                Joseph Ault
                                                16207 Hwy E
                                                Lexington, MO 64067



                                                Joshua Beach
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                                                Joshua McCune
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                                                Joyce McNeal
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                                                JT Johnson
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                                                Kansas City, MO 64136



                                                Juan Martinez
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                                                Juan Mendez-Pinon
                                                802 S Noland Rd 1C
                                                Independence, MO 64050



                                                Juan Pena
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                                                Grandview, MO 64030




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                                                Julius Brown
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                                                Kansas City, MO 64137



                                                Justin Cogle
                                                4425 Norwood Ave
                                                Kansas City, MO 64133



                                                Justin Davis
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                                                Justin Gilmore
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                                                Justus D. Sinnett
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                                                Topeka, KS 66603-3796



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                                                11719 Winchester Ave
                                                Kansas City, MO 64164



                                                Karsa Pitts
                                                19416 East 14th Street
                                                Independence, MO 64056




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                                                Kasey Ray
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                                                Independence, MO 64054



                                                Kasmin Jones
                                                3217 Mersington Ave
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                                                Kathy Samborski
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                                                Keith White
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                                                Kenneth King
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                                                Independence, MO 64055



                                                Kenneth Paul
                                                720 S. Savage Street
                                                Independence, MO 64050




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                                                Kevin Scott
                                                7910 N Grandby Ave, Apt 17
                                                Kansas City, MO 64151



                                                Kevon Harris
                                                6715 Martha Truman Rd
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                                                Kimberly Thibault
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                                                Independence, MO 64056



                                                Kleigh Stith
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                                                Kosmes Kosmes
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                                                Kansas City, MO 64117



                                                Kristina Listenberger
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                                                Independence, MO 64052



                                                Kristina Winters
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                                                Kansas City, MO 64124



                                                Lakeasha Williams
                                                7107 Myrtle
                                                Kansas City, MO 64132



                                                Lakendra Griswold
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                                                Kansas City, MO 64123




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                                                Lamontika Baker
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                                                Kansas City, MO 64118



                                                Lance Kolb
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                                                Kansas City, MO 64133



                                                Lanetta Hall
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                                                Larry Long
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                                                Independence, MO 64050



                                                Larry Tong
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                                                Laryssa Scott
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                                                Lashunda Williams
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                                                6003 Blue Hills Rd #5
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                                                9500 Drury Ave, Apt 304
                                                Kansas City, MO 64137




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                                                Laverna Banks
                                                1524 Jones St
                                                Grandview, MO 64030



                                                Layonda Morgan
                                                8308 Grandview Lane
                                                Overland Park, KS 66212



                                                Leanna Morgan
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                                                Lee Douglas
                                                7003 Jackson Ave
                                                Kansas City, MO 64132



                                                Lejuan Miller
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                                                Leland Quint
                                                1457 NE Burgandy Ln.
                                                Lee's Summit, MO 64088



                                                Leland Quint
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                                                Oak Grove, MO 64075



                                                Leonel Lopez
                                                1513 W 23rd Terr, Bldg. G4, Apt. I
                                                Independence, MO 64050



                                                Leotrice Franklin
                                                6201 E 152nd St #B
                                                Grandview, MO 64030




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                                                Lindsey Samborski
                                                16700 East 29th Street South
                                                Independence, MO 64055



                                                Lisa Aguilar
                                                716 NW Street
                                                Nevada, MO 64772



                                                Luis Torres
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                                                Madge Keshun
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                                                Marguarite Henderson
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                                                Kansas City, MO 64129



                                                Marguarite Vaughn
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                                                Kansas City, MO 64130



                                                Maria Gonzalez
                                                13021 Dessau Rd Lot 442
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                                                6012 Burcain Pl, Apt A
                                                Gladstone, MO 64118




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                                                Mark Isley
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                                                Kansas City, MO 64152



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                                                Marlon Cole
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                                                Raytown, MO 64133



                                                Marlon Green
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                                                Marlys Glover
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                                                Independence, MO 64050



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                                                Martes Allen
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                                                Kansas City, MO 64156



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                                                Mary Goodloe
                                                7010 N Park Ave, Apt A
                                                Kansas City, MO 64118




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                                                Matthew Winbinger
                                                6800 E 135th St
                                                Grandview, MO 64030



                                                Mattie Davis
                                                1426 E 97th St, Apt A
                                                Kansas City, MO 64131



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                                                Melinda Foster
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                                                Melissa Lovett
                                                616 Morse Ave
                                                Liberty, MO 64068




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                                                Melissa Mustain
                                                19506 Salisbury
                                                Independence, MO 64056



                                                Michael Craddock
                                                110 N Chestnut, Apt B
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                                                Michael Crockett
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                                                Michael Kovaleski
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                                                Independence, MO 64050



                                                Miesha Chrisman
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                                                Grandview, MO 64030



                                                Mike Price
                                                7945 Agnes
                                                Kansas City, MO 64132



                                                Missouri Department of Revenue
                                                Attn: Bankruptcy Unit
                                                P.O. Box 475
                                                Jefferson City, MO 65105




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                                                Missouri Division of Finance
                                                301 West High Street, Room 630
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                                                Jefferson City, MO 65102-0716



                                                Mitchell Floyd
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                                                Monet Roberts
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                                                118 North Water Street
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                                                Nathan May
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                                                Nathaniel Ressel
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                                                Olathe, KS 66062



                                                Neico Silkwood
                                                22099 102th Lane
                                                Sweet Springs, MO 65351



                                                Nicolas Higginbotham
                                                9600 E 43rd St
                                                Kansas City, MO 64133




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                                                Nyankiir Anyang
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                                                Nykeiscia Love
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                                                Kansas City, MO 64118



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                                                Kansas City, MO 64138



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                                                3706 Neona
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                                                Peggy Stevenson
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                                                Rane Newman
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                                                Raymond Foster
                                                1306 NW 6th Terr
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                                                Kansas City, MO 64130




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                                                Rebecca Russell
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                                                Reginold McDonald
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                                                Rhiannon Edwards
                                                14907 Grand Summit Blvd #106
                                                Grandview, MO 64030



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                                                Raytown, MO 64138



                                                Richard Harris
                                                3405 Utah Rd
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                                                Richard Nunn
                                                1300 Bryson
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                                                Richard Sagaser
                                                6117 N. Denver Ave
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                                                RKB Law, LLC
                                                PO Box 7374
                                                Kansas City, MO 64116



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                                                Robert Downton
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                                                Robert McGautha
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                                                Grandview, MO 64030



                                                Roberta Townsend
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                                                Roger Alexander
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                                                Ronnie Lane
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                                                Overland Park, KS 66210




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                                                Rosiland Holloway
                                                8142 Troost
                                                Kansas City, MO 64109



                                                Roy Brown
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                                                Independence, MO 64050



                                                Rudy Chavez
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                                                Russell Straight
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                                                Ryan Ashton
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                                                Independence, MO 64050



                                                Ryan Sprague
                                                334 NW 1351
                                                Holden, MO 64040



                                                Sammyo T. Jackson
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                                                Grandview, MO 64030



                                                Sandra Jones
                                                1311 S 13 HWY LOT 19
                                                Lexington, MO 64067



                                                Satin Walcott
                                                9323 Bales Ave #301
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                                                Savannah Nutt
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                                                Lees Summit, MO 64086



                                                Sayra Williams
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                                                Scott Wheeler
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                                                Shannon Long
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                                                Kansas City, MO 64109



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                                                Shatora Floy
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                                                Shawn Pearson
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                                                Independence, MO 64052



                                                Shawnte Giles
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                                                Independence, MO 64056



                                                Sheila Kolb
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                                                Slafka Contreras
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                                                2388 Schuetz Rd.
                                                Suite A-100
                                                Saint Louis, MO 63146




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                                                Stacatto Henderson
                                                10211 Hillcrest Rd
                                                Kansas City, MO 64134



                                                Stacey Moore
                                                721 North Liberty
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                                                Stehpanie Hunt
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                                                Stephen Hamilton
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                                                Stephen Tharp
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                                                Steve Warehime
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